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     1                 UNITED STATES DISTRICT COURT
     2             FOR THE NORTHERN DISTRICT OF OHIO
     3                        EASTERN DIVISION
     4                               - - -
     5    IN RE:    NATIONAL                  :
          PRESCRIPTION                        :   MDL No. 2804
     6    OPIATE LITIGATION                   :
          ___________________________ :           Case No.
     7                                        :   1:17-MD-2804
          THIS DOCUMENT RELATES               :
     8    TO ALL CASES                        :   Hon. Dan A. Polster
     9                               - - -
   10                       HIGHLY CONFIDENTIAL
   11         SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
   12

                                     - - -
   13

   14               Videotaped deposition of         ERIN M. COX, held at
   15     the offices of Spangenberg Shibley & Liber LLP,
   16     1001 Lakeside Avenue, Suite 1700, Cleveland, Ohio
   17     44114, on January 17, 2019, commencing at
   18     8:58 a.m., before Carol A. Kirk, Registered Merit
   19     Reporter and Notary Public.
   20

   21                                - - -
   22

   23                   GOLKOW LITIGATION SERVICES
                   877.370.3377 ph | 917.591.5672 fax
   24                         deps@golkow.com

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                                                 Page 2                                                                   Page 4
    1         A P P E A R A N C E S:                              1      VIDEOTAPED DEPOSITION OF ERIN M. COX
    2 On behalf of the Plaintiffs:                                2          INDEX TO EXAMINATION
    3     ROBBINS GELLER RUDMAN & DOWD LLP
          BY: MARK J. DEARMAN, ESQUIRE                            3 WITNESS                            PAGE
    4        mdearman@rgrd.com                                    4 ERIN M. COX
             RICARDO J. MARENCO, ESQUIRE
    5        rmarenco@rgrd.com                                    5     CROSS-EXAMINATION BY MR. DEARMAN:                      9
          120 East Palmetto Park Road, Suite 500                  6
    6     Boca Raton, Florida 33432
          561-750-3000                                            7
    7
    8 On behalf of Cardinal Health, Inc.     8
    9     PORTER WRIGHT MORRIS & ARTHUR LLP 9
          BY: JILL G. OKUN, ESQUIRE
   10        jokun@porterwright.com         10
          950 Main Avenue, Suite 500        11
   11     Cleveland, Ohio 44113
          216-443-9000                      12
   12
                                                                 13
   13 On behalf of AmerisourceBergen Corporation:
   14     JACKSON KELLY PLLC                                     14
          BY: JILL MCINTYRE, ESQUIRE                             15
   15        jmcintyre@jacksonkelly.com
          500 Lee Street East, Suite 1600                        16
   16     Charleston, West Virginia 25301                        17
          304-340-1018
   17                                                            18
   18 On behalf of Walmart:
   19     JONES DAY                                              19
          BY: CASTEEL BORSAY, ESQUIRE                            20
   20        cborsay@jonesday.com
          325 John H. McConnell Boulevard, Suite 600             21
   21     Columbus, Ohio 43215-2673                              22
          614-469-3939
   22                                                            23
   23
                                                                 24
   24

                                                     Page 3                                                               Page 5
    1   On behalf of Endo Pharmaceuticals, Inc.,                  1    VIDEOTAPED DEPOSITION OF ERIN M. COX
        Endo Health Solutions, Inc., Par Pharmaceutical, Inc.,    2         INDEX TO EXHIBITS
                                                                  3 MALLINCKRODT-COX DESCRIPTION                PAGE
    2   and Par Pharmaceutical Companies, Inc.:                   4 Mallinckrodt-Cox 1 Plaintiffs' Notice of 18
    3       ARNOLD & PORTER KAYE SCHOLER, LLP                                     Oral Videotaped Fact
            BY: RYAN Z. WATTS, ESQUIRE                            5               Depositions of Jane
                                                                                  Williams, Susan Joliff,
    4          ryan.watts@arnoldporter.com                        6               Erin Cox, and Kevin
            601 Massachusetts Avenue, NW                                          Becker, and Requests for
    5       Washington, DC 20001                                  7               Production of Documents
            202-942-5000                                          8   Mallinckrodt-Cox 2 Resume for Erin M.     28
    6
                                                                                  Dunford, Bates-stamped
                                                                  9               MNK-T1_0007918544 through
    7 On behalf of Mallinckrodt:                                                  7918547
    8     ROPES & GRAY LLP                                       10
          BY: ROCKY C. TSAI, ESQUIRE                                Mallinckrodt-Cox 3 Letter to Ms. Dunford     41
                                                                 11             from Ms. LaPlante, dated
    9        rocky.tsai@ropesgray.com                                           April 5, 2010, Bates-
             ELISSA C. REIDY, ESQUIRE                            12             stamped MNK_T1_0007918510
   10        elissa.reidy@ropesgray.com                                         through 7918515
                                                                 13
          800 Boyleston Street                                      Mallinckrodt-Cox 4 Letter to Ms. Cox from    52
   11     Boston, Massachusetts 02199                            14             Ms. Jordan, dated March
          614-951-7000                                                          24, 2014, Bates-stamped
   12                                                            15             MNK_T1_0007918506 and
                                                                                7918507
   13                                                            16
   14   ALSO PRESENT:                                               Mallinckrodt-Cox 5 E-mail to Ms. Cox from        74
   15    Frank Stanek, Videographer                              17             Ms. Terp, dated
   16                                                                           5/10/2013, with attached
                                                                 18             50602-Rx Push Report,
   17                                                                           Bates-stamped
   18                                                            19             MNK-T1_0002403648 and
   19                                                                           2403649
                                                                 20
   20                                                                 Mallinckrodt-Cox 6 Excel spreadsheets,    78
   21                                                            21               Bates-stamped
   22                                                                             MNK-T1-0000090455
   23                                                            22
                                                                 23
   24                                                            24

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    1       INDEX TO EXHIBITS (CONT'D)                                    1                 ---
    2 MALLINCKRODT-COX DESCRIPTION                               PAGE
    3 Mallinckrodt-Cox 7 E-mail chain ending with         88              2           PROCEEDINGS
                    an e-mail to Ms. Dunford
    4               from Ms. Dunford, dated                               3                 ---
                    3/17/2011, with attached
    5               30305_E4217981_1 report                               4            THE VIDEOGRAPHER: We are now on
                    attached, Bates-stamped                               5        the record. My name is Frank Stanek. I
    6               MNK-T1_0004811994
    7   Mallinckrodt-Cox 8 Report dated from         93                   6        am a videographer for Golkow Litigation
                    10/1/2013 through
    8               6/5/2014, Bates-stamped                               7        Services. Today's date is January 17,
                    MNK-T1-0000089991
    9                                                                     8        2019, and the time is 8:58 a.m.
      Mallinckrodt-Cox 9 E-mail to Mr. Boehms and 102
   10             others from Mr. Becker,                                 9            This deposition is being held in
                  dated 10/18/2013, with
   11             attached One Mallinckrodt                              10        Cleveland, Ohio in Re of National
                  workshop slides attached,                              11        Prescription Opiate Litigation for the
   12             Bates-stamped
                  MNK-T1_0001014384                                      12        United States District Court, Northern
   13
      Mallinckrodt-Cox 10 E-mail to Mr. Dress from 113                   13        District of Ohio, Eastern Division. The
   14             Ms. Cox, dated 8/22/2014,
                  with attached updated                                  14        deponent is Erin Cox.
   15             TAP-Lorain report,
                  Bates-stamped                                          15            Will counsel please identify
   16             MNK-T1_0002078593 and
                  2078594                                                16        themselves.
   17
      Mallinckrodt-Cox 11 E-mail to Mr. Breseman          116
                                                                         17            MR. DEARMAN: Mark Dearman,
   18             and others from                                        18        Ricardo Marenco, from Robbins Geller for
                  Mr. Dress, dated
   19             5/5/2014, Bates-stamped                                19        Plaintiffs.
                  MNK-T1_0004748035
   20                                                                    20            MR. TSAI: Rocky Tsai, Ropes &
        Mallinckrodt-Cox 12 E-mail to Ms. Cox from        120
   21               Mr. Dress, dated                                     21        Gray, for the witness, Ms. Cox, and for
                    5/30/2014, with attached
   22               2014 Mid-Year Performance                            22        Mallinckrodt LLC.
                    Discussion Guide,                                    23            MS. REIDY: Elissa Reidy, Ropes &
   23               Bates-stamped
                    MNK-T1_0001013251 through                            24        Gray, for the witness Erin Cox and for
   24               1013254
                                                                Page 7                                                     Page 9
    1       INDEX TO EXHIBITS (CONT'D)                                    1         Mallinckrodt LLC.
    2 MALLINCKRODT-COX DESCRIPTION                      PAGE              2             MS. OKUN: Jill Okun for Cardinal
    3 Mallinckrodt-Cox 13 E-mail to Mr. Becker from 131
                    Ms. Cox, dated
                                                                          3         Health.
    4               11/20/2013, Bates-stamped                             4             MS. BORSAY: Casteel Borsay from
                    MNK-T1_0004800768 and                                 5         Jones Day on behalf of Walmart.
    5               4800769
    6   Mallinckrodt-Cox 14 Document titled "Pain    136
                                                                          6             THE COURT REPORTER: On the phone?
                    Management pocketcard                                 7             MS. McINTYRE: Jill McIntyre,
    7               Set," Bates-stamped                                   8         Jackson Kelly, for AmerisourceBergen.
                    MNK-T1_0002183040 through                             9             MR. WATTS: And this is Ryan Watts
    8               2183043
    9   Mallinckrodt-Cox 15 E-mail chain ending with 138                 10         with Arnold & Porter on behalf of Endo
                    an e-mail to Mr. Burd                                11         Health Solutions, Inc., Endo
   10               from Mr. Wessler, dated                              12         Pharmaceuticals, Inc., Par
                    5/29/2008, with
   11               attachment, Bates-stamped
                                                                         13         Pharmaceutical, Inc., and Par
                    MNK-T1_002248914 through                             14         Pharmaceutical Companies, Inc.
   12               2248926                                              15             THE VIDEOGRAPHER: The court
   13
   14
                                                                         16         reporter is Carol Kirk and will now
   15                                                                    17         swear in the witness.
   16                                                                    18                 ---
   17                                                                    19               ERIN M. COX
   18
   19
                                                                         20   being by me first duly sworn, as hereinafter
   20                                                                    21   certified, deposes and says as follows:
   21                                                                    22              CROSS-EXAMINATION
   22
   23
                                                                         23   BY MR. DEARMAN:
   24                                                                    24         Q. Good morning.

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    1        A. Good morning.                               1   deposition?
    2        Q. My name is Mark Dearman. We met             2         A. I am.
    3   before the depo started. I'm going to ask you       3         Q. And by who?
    4   some questions today.                               4         A. Rocky Tsai and Elissa Reidy from
    5            What is your full name?                    5   Ropes & Gray.
    6        A. My name is Erin Marie Cox.                  6         Q. And do you have a representation
    7        Q. Okay. And what is your business             7   agreement with Ropes & Gray?
    8   address?                                            8         A. I do.
    9        A.                                             9         Q. Okay. And is that a written
                                                           10   representation agreement?
   11        Q. Is that also your residential              11         A. It is.
   12   address?                                           12         Q. Okay. And do you have a copy of
   13        A. It is.                                     13   that with you here today?
   14        Q. Okay. What is your current                 14         A. I do not.
   15   occupation?                                        15         Q. Okay. Are you familiar with the
   16        A. I am a territory manager.                  16   term "diversion"?
   17        Q. For whom?                                  17         A. I am.
   18        A. BioDelivery Sciences.                      18         Q. And what is your understanding of
   19        Q. Have you ever testified at a               19   the term "diversion"?
   20   deposition or other proceeding?                    20         A. The misuse of a product taken or
   21        A. I have not.                                21   distributed for unintended purposes.
   22        Q. Okay. So although your counsel             22         Q. How about "suspicious order
   23   probably explained some of this to you, I'm        23   monitoring," have you heard that term? SOM?
   24   going to give you some of the ground rules. I'm    24         A. I've never heard that term.
                                                Page 11                                                 Page 13
    1   going to ask you questions, which you need to       1        Q. Okay. How about "suspicious
    2   answer orally. From time to time we shake our       2   order"?
    3   head yes or no or we go "mm-hmm" or "huh-uh,"       3        A. I've never heard that term.
    4   but that won't give us a clear record. So if        4        Q. "Peculiar order"?
    5   you would answer orally and out loud, I would       5        A. Again, I've never heard that term.
    6   appreciate it.                                      6        Q. "Order of interest"?
    7             If you answer a question that I           7        A. Never heard that term.
    8   ask you, I'm going to assume that you understood    8        Q. How about the terms "educate and
    9   it. So if you don't understand one of my            9   inform"?
   10   questions, which is likely to happen, just say,    10        A. Yes, I'm familiar.
   11   "Mark, I don't understand the question," and       11        Q. Okay. Can you please give me your
   12   I'll go ahead and rephrase it, okay?               12   familiarity with the terms, together, "educate"
   13         A. Okay.                                     13   and "inform"?
   14         Q. There will be some -- there               14        A. Educate and inform in relation to
   15   possibly will be some objections from your         15   what?
   16   counsel during the deposition, and so unless       16        Q. You tell me.
   17   your counsel instructs you not to answer a         17        A. My current role, as it stands, is
   18   question, after the objection, you're required     18   to educate and inform healthcare providers of
   19   to answer the question. Okay?                      19   the benefits of my current product. I get -- my
   20         A. Okay.                                     20   job is to stay compliant and ethically on label
   21         Q. Is there any reason that you can't        21   and provide my accounts with information to the
   22   give your full and accurate testimony today?       22   best of my ability.
   23         A. There is not.                             23        Q. Would you say that educate and
   24         Q. Okay. Are you represented at this         24   inform is an important part of your current job?

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    1         A. It is, yes.                                1   occurs unless there's a history of abuse?
    2         Q. Okay. And would you, at your               2          A. No, I have never made a comment
    3   current job, have received training with regard     3   like that.
    4   to how to educate and inform?                       4          Q. Did you ever tell doctors, that
    5         A. Yes, I do.                                 5   you were dealing with, to always ask about a
    6         Q. And in what format did that                6   patient's pain and to accept the patient's
    7   training come, at your current position?            7   report of pain?
    8         A. My current position with                   8          A. Not that I can recall have I ever
    9   BioDelivery?                                        9   had that type of dialogue with a provider.
   10         Q. Yes, ma'am.                               10          Q. Have you ever provided any doctors
   11         A. Webinars, conference calls, live          11   that you were dealing with with information,
   12   in-person training.                                12   written information, indicating that opioids
   13         Q. Were you provided -- from your            13   aren't addictive?
   14   current employer, were you provided with any       14          A. I was never instructed or had a
   15   materials that would instruct you and assist you   15   conversation with a doctor to talk about the --
   16   in how to properly educate and inform?             16   how an opioid can -- is not addictive, no.
   17         A. Yes.                                      17          Q. Okay. Did you ever talk to
   18         Q. Okay. So the terms "educate" and          18   doctors about opioids being addictive?
   19   "inform" are familiar to you?                      19          A. I've always talked to doctors
   20         A. They are.                                 20   about the risks associated with opioids, as
   21         Q. And those terms were familiar to          21   stated in the black box on all of my products.
   22   you -- they're familiar to you in your current     22          Q. All right. And my question was a
   23   job as a territory manager, correct?               23   little bit different. I'm not asking you
   24         A. They are, correct.                        24   whether you actually verbally told a doctor
                                                Page 15                                                 Page 17
    1        Q. Are you familiar with what a pain           1   that. I'm asking you whether or not you had
    2   card is?                                            2   ever provided a doctor with a written material
    3        A. A pain card? No, I'm not.                   3   provided by your current employer or any
    4        Q. How about a pocket card?                    4   employer, which indicated that addiction rarely
    5        A. I've never heard of pocket card.            5   occurs unless there's a history of abuse.
    6        Q. Pocket guide?                               6         A. I've never -- no, that's not --
    7        A. A pocket guide? No, I've never              7   no.
    8   heard that.                                         8         Q. Ever provided documents, written
    9        Q. You current -- do you currently             9   documents or materials, to doctors telling them
   10   interact with doctors or physicians, healthcare    10   that -- to always ask a patient about pain and
   11   professionals in your current position?            11   to accept the patient's report of pain?
   12        A. Yes, I currently do.                       12         A. That -- that type of dialogue has
   13        Q. And previous to this position, did         13   never -- that was never part of my current
   14   you do that?                                       14   training or my previous training. That would --
   15        A. I did, yes.                                15   that type of conversation would not have come
   16        Q. And did you do that at                     16   up. That is not a common dialogue we would have
   17   Mallinckrodt?                                      17   had.
   18        A. I did, yes.                                18         Q. Okay. And you would not have
   19        Q. Okay. Have you ever told a doctor          19   provided written materials to that extent to any
   20   that opioids aren't addictive?                     20   of the doctors that you were dealing with,
   21        A. I've never told a doctor an opioid         21   correct?
   22   is not addictive.                                  22         A. As far as I can recall, I've never
   23        Q. Have you ever told doctors that            23   provided any written materials.
   24   you targeted that -- that addiction rarely         24                 ---

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    1       (Mallinckrodt-Cox Exhibit 1 marked.)           1   documents refreshed your recollection as to any
    2                 ---                                  2   of the issues?
    3   BY MR. DEARMAN:                                    3             MR. TSAI: I'll just instruct the
    4         Q. I'm going to show you what we're          4        witness not to reveal any specific
    5   going to mark as Exhibit Number 1, which is the    5        documents that were compiled and
    6   notice.                                            6        discussed with counsel. You can talk
    7             Have you seen this document before       7        about general categories. Go ahead.
    8   today?                                             8        Q. And again, to be clear, I'm only
    9         A. I have, yes.                              9   asking you about -- I'm not asking you about all
   10         Q. Okay. When is the first time             10   the documents you looked at, just the ones that
   11   you've seen this document?                        11   refreshed your recollection.
   12         A. Yesterday.                               12             MR. TSAI: Same instruction.
   13         Q. Where did you see this document?         13        A. General sales aids.
   14         A. At Hahn Loeser.                          14        Q. What is a "sales aid"?
   15         Q. Where?                                   15             (Reporter clarification.)
   16         A. At another law firm.                     16             THE WITNESS: Sales aids.
   17         Q. Okay. What did you do to prepare         17        A. The standard marketing piece that
   18   for this deposition?                              18   we used in the field. It had been almost ten
   19         A. I met with my attorneys.                 19   years since I had seen it, so, of course, it
   20         Q. And when did you do that?                20   refreshed my memory a bit of the products.
   21         A. The end of November and yesterday.       21        Q. And were there more than one
   22         Q. So two times?                            22   marketing piece, or when you refer to
   23         A. Two times.                               23   "standard," there was sort of one?
   24         Q. In addition to meeting with your         24        A. Really only one that stands out.
                                               Page 19                                                 Page 21
    1   attorneys, have you spoken to your attorneys by    1        Q. And what was that document called?
    2   telephone?                                         2        A. I don't remember.
    3         A. I have not.                               3        Q. Was it a PowerPoint? Was it an
    4         Q. Okay. The end of November, where          4   e-mail? What kind of document was it?
    5   was it that you met?                               5        A. Not a PowerPoint. It was just a
    6         A. At Hahn Loeser.                           6   photocopy of our aids that we used.
    7         Q. And who did you meet with?                7        Q. Okay. And what were the purpose
    8         A. Rocky and Elissa.                         8   of the aids?
    9         Q. Was there anybody else present at         9        A. What were the purpose of the aids
   10   that meeting?                                     10   during my employment with Mallinckrodt?
   11         A. There was not.                           11        Q. Yeah.
   12         Q. How long did that meeting go for?        12        A. To have a visual when speaking
   13         A. Four to five hours.                      13   with providers on education.
   14         Q. Okay. Did you bring any documents        14        Q. Is it something that you would
   15   to that meeting?                                  15   bring with you to meetings with doctors or
   16         A. I did not.                               16   healthcare professionals?
   17         Q. Were any documents provided to you       17        A. It was, yes.
   18   at that meeting?                                  18        Q. Is it a document that you would
   19         A. They were.                               19   provide to healthcare professionals?
   20         Q. Okay. Did any of those documents         20        A. No. These weren't things we left
   21   refresh your recollection as to any of the        21   behind.
   22   issues?                                           22        Q. Okay. Was this in paper format or
   23         A. Yes.                                     23   was it on an iPad or --
   24         Q. Which documents or what type of          24        A. It was on both.

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    1        Q. Okay. Any other documents that              1   distribution, suspicious order monitoring and
    2   you looked at that refreshed your recollection?     2   lobbying efforts in connection with its opioid
    3        A. Not in particular, no.                      3   business"?
    4        Q. Did you review any e-mails?                 4         A. I did not.
    5            MS. McINTYRE: I'm sorry to                 5         Q. You currently work out of your
    6        interrupt, but we don't have realtime,         6   house?
    7        and we can't hear the witness.                 7         A. Yes. Theoretically, out of my
    8            (Pause in proceedings.)                    8   car, but yes.
    9            THE VIDEOGRAPHER: On the record,           9         Q. Okay. But do you have an office
   10        9:31.                                         10   in your house?
   11   BY MR. DEARMAN:                                    11         A. I do.
   12        Q. When we took a break, we were              12         Q. And just so the record is clear,
   13   talking about what you did to prepare for the      13   did you look at -- did you look through any of
   14   deposition, and you talked about that first        14   your documents or computers or any of your
   15   meeting with your attorneys at the end of          15   electronic devices to see whether you had any
   16   November. Was there a second meeting?              16   materials responsive to number 2?
   17        A. Yes, yesterday.                            17         A. I did not have any materials from
   18        Q. Okay. And where did that occur?            18   my previous employer.
   19        A. Hahn Loeser.                               19         Q. And how do you know that?
   20        Q. And how long did that occur --             20         A. I looked -- I -- everything was
   21   take place for?                                    21   destroyed and given back once I resigned.
   22        A. About four hours.                          22         Q. Okay. Did you look for them,
   23        Q. And who was present?                       23   though?
   24        A. Elissa and Rocky.                          24         A. I did look for them knowing that
                                                Page 23                                                Page 25
    1         Q. Okay. And, again, were you -- did          1   there -- to double check there was nothing
    2   you bring any documents to that meeting?            2   there.
    3         A. No, I did not.                             3         Q. Okay. When did you do that?
    4         Q. Were you shown documents?                  4         A. In November.
    5         A. I was, yes.                                5         Q. Why did you do that?
    6         Q. Okay. And did any of those                 6         A. I believe my attorneys told me if
    7   documents refresh your recollection relating to     7   I had anything, to hold on to it, and I did not
    8   any of the issues in the case?                      8   have anything pertaining to the case.
    9         A. They did not.                              9         Q. Did you speak with any other
   10         Q. Going back to Exhibit 1, which is         10   Mallinckrodt current or former employees about
   11   the notice of taking deposition, I believe you     11   this deposition?
   12   testified that you saw this yesterday for the      12         A. I did.
   13   first time?                                        13         Q. Who?
   14         A. I did, yes.                               14         A. Susan Jolliff.
   15         Q. If you turn to page 5 of the              15         Q. When did you speak to Susan?
   16   document and you look at the bottom where it       16         A. Before the holidays.
   17   says "Documents to be produced," did you bring a   17         Q. Was that after or before her
   18   current copy of your resumé with you today?        18   deposition?
   19         A. I did not.                                19         A. Before, I believe.
   20         Q. If you look at request number 2,          20         Q. Did she call you? Did you call
   21   did you search for -- we'll start with, did you    21   her? How did that come to be?
   22   look for "documents, including electronic data,    22         A. I don't remember. She's a friend
   23   e-mail in your possession related any way to any   23   of mine. We speak regularly.
   24   Defendants' manufacture, marketing, sale,          24         Q. Did you talk to her about this

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    1   deposition?                                         1         Q. Okay. Does he know you're at a
    2         A. I did not.                                 2   depo today?
    3         Q. Did she talk to you about the              3         A. He does.
    4   deposition?                                         4         Q. Okay. And when did he tell you
    5         A. She did not.                               5   that you shouldn't talk to Susan about the depo?
    6         Q. Okay. Do you know -- did you know          6         A. As soon as I got a call from
    7   that she was deposed in this case?                  7   Mallinckrodt.
    8         A. I did.                                     8         Q. And was that before or after you
    9         Q. How did you find that out?                 9   spoke to Susan?
   10         A. I saw her name on this document.          10         A. I don't recall.
   11         Q. So you noted that yesterday?              11         Q. Okay. Do you keep in touch with
   12         A. No. I learned it a few weeks ago.         12   anybody else from Mallinckrodt?
   13         Q. Okay.                                     13         A. I do not.
   14         A. And confirmed it yesterday.               14         Q. And did you work with Susan?
   15         Q. And how did you learn it a few            15         A. I did.
   16   weeks ago?                                         16         Q. In what --
   17         A. I think I had asked her if she            17         A. We were just on the same team. I
   18   was -- if she got called from the Mallinckrodt     18   only saw her a few times a quarter, if that, but
   19   attorneys.                                         19   our territories were separate.
   20         Q. And what did she say?                     20                 ---
   21         A. She did, but that was -- we ended         21       (Mallinckrodt-Cox Exhibit 2 marked.)
   22   the conversation.                                  22                 ---
   23         Q. Why did you end the conversation?         23   BY MR. DEARMAN:
   24         A. Because we figured we shouldn't be        24         Q. I'm going to show you what I'm
                                                Page 27                                                  Page 29
    1   talking about it.                                   1   going to mark as Exhibit 2. Some of the
    2         Q. Why not?                                   2   documents are going to have numbers at the
    3         A. My husband is an attorney and told         3   bottom called Bates numbers.
    4   me not to talk about it.                            4         A. Okay.
    5         Q. Did you talk to your husband about         5         Q. So I may refer to those numbers,
    6   the --                                              6   but it's just to clarify what pages I'm looking
    7         A. I did not.                                 7   at. And this is 8544 through 8547.
    8         Q. So one of the other rules, which I         8              Have you seen this document
    9   forgot to mention, is that you may know a           9   before?
   10   question that I'm going to ask. It may be          10         A. I have.
   11   predictable --                                     11         Q. What is it?
   12         A. Sure.                                     12         A. This is an old copy of my resumé.
   13         Q. -- and you may know, but it's             13         Q. With the exception of adding your
   14   important, again, for us to get a clear record     14   experience at Mallinckrodt and your current
   15   that you let me ask the entire question and I'll   15   employer, is there any information that's
   16   let you give your entire answer, okay?             16   missing off of this resumé?
   17         A. Okay.                                     17         A. No, not that I can tell.
   18         Q. All right. It's completely                18         Q. Okay. If you turn to the -- to
   19   natural in conversation, but for the depo we       19   page 8546 -- and there may be some blank pages,
   20   just need to get a clear record.                   20   but that's just the way it was introduced to us.
   21         A. Okay.                                     21   I don't know if you -- but if you turn to the
   22         Q. Did you have any conversation with        22   bottom -- it doesn't have a page number but
   23   your husband about the depo today?                 23   where it says "8546" at the bottom.
   24         A. I did not.                                24         A. Yeah.

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    1        Q. Your education is listed there?            1         Q. Who was your direct report at
    2        A. It is.                                     2   Lincare, if you know?
    3        Q. Where did you go to college?               3         A. I believe it was Robin Rawlings.
    4        A. Kent State.                                4         Q. On the bullet points, it indicated
    5        Q. And what did you study there?              5   that you achieved monthly sales goals for
    6        A. Health science.                            6   medical devices and respiratory medications. So
    7        Q. Other than the education, which is         7   were there goals that were provided to you by
    8   reflected in this document, did you -- have you    8   Lincare?
    9   received any formal education elsewhere?           9         A. I believe there were goals. I
   10        A. I have not.                               10   don't recall.
   11        Q. After you graduated from college,         11         Q. Were there any scheduled
   12   talking now about work experience, what did you   12   medications while you were at Lincare that you
   13   do?                                               13   were responsible for?
   14        A. I worked for Lincare for a little         14         A. No. I only sold respiratory
   15   over a year. I sold respiratory devices.          15   devices.
   16        Q. And what were your duties and             16         Q. Okay. It says "and respiratory
   17   responsibilities selling those devices?           17   medications," so ...
   18        A. Cultivating relationships with            18         A. Yeah. It -- that was just part of
   19   healthcare professionals, educating them on the   19   the -- we didn't have any direct sale with --
   20   respiratory devices.                              20   and any -- you needed our device in order to
   21        Q. Did you receive training at               21   access the medication.
   22   Lincare?                                          22         Q. In one of the bullets, the third
   23        A. I did.                                    23   one says, "Develop new relationships with
   24        Q. In what format?                           24   potential referral sources."
                                                Page 31                                                Page 33
    1         A. Sales training. It was called --          1            What does that mean?
    2   a two-week sales training.                         2         A. Worked with hospitals and
    3         Q. And what was the course called?           3   respiratory therapists to increase referrals for
    4         A. I think it was called -- it began         4   our product.
    5   with a C. It might be on there. CPQ or             5         Q. Referrals to whom or --
    6   something. I don't really recall.                  6         A. To Lincare and then they would set
    7         Q. Okay. And --                              7   the patient up with the device.
    8         A. QP3. That was it, QP3.                    8         Q. Okay. The next one is, "Hosted
    9         Q. Is that reflected here or you just        9   informational lunches with physicians, hospital
   10   recall it?                                        10   staff and other decision makers about Lincare's
   11         A. It is, yeah. No. It's right              11   products and services."
   12   there.                                            12         A. Mm-hmm.
   13         Q. Okay. What is QP3?                       13         Q. What does that mean?
   14         A. I don't remember.                        14         A. It's a lunch and learn to go over
   15         Q. Okay. And what was your territory        15   the features and benefits of the products,
   16   while at Lincare?                                 16   answer any questions.
   17         A. The west side of Cleveland.              17         Q. Is lunch and learn a -- is that a
   18         Q. Anywhere else?                           18   term of art?
   19         A. No. I don't remember. I don't --         19         A. Yeah.
   20   I think it was just the west side of Cleveland.   20         Q. Okay.
   21         Q. Why did you leave Lincare?               21         A. It's a common term.
   22         A. I was offered another position.          22         Q. At those luncheons, did you ever
   23         Q. So you voluntarily left?                 23   have other physicians or speakers?
   24         A. I did.                                   24         A. No. It would just be myself and,

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    1   you know, the physician who would be attending    1         Q. And what were your duties and
    2   learning about the product.                       2   responsibilities?
    3         Q. Are you familiar with the term           3         A. Promoted the products to
    4   "key opinion leader"?                             4   dermatologists and podiatrists, educated and
    5         A. I am.                                    5   informed healthcare professionals on the variety
    6         Q. What is your familiarity with that       6   of products we carried. Yeah. Managed -- I was
    7   term?                                             7   a territory manager. All of the products we had
    8         A. It's a physician or well-respected       8   were dermatology.
    9   PharmD who works in collaboration with the        9         Q. Okay.
   10   company to provide expert opinion, clinical      10         A. Everything was a topical. I
   11   information, peer-to-peer discussions. Real      11   didn't sell a pill. Everything was a topical
   12   life patient discussions.                        12   component. There was a topical lotion, film,
   13         Q. Did you ever work with any key          13   things like that.
   14   opinion leaders?                                 14         Q. Did you receive training?
   15         A. In what context?                        15         A. I did.
   16         Q. At Mallinckrodt.                        16         Q. And what would that -- what did
   17         A. I did.                                  17   that training consist of?
   18         Q. Okay. And do you recall the names       18         A. A one-week training in Charleston.
   19   of the key opinion leaders?                      19         Q. And what was the point of the
   20         A. Dr. Bharat Shah.                        20   training? What was it you learned?
   21         Q. Anybody else?                           21         A. To learn the features and benefits
   22         A. He's the only one I worked with in      22   of the different products.
   23   my territory.                                    23         Q. You used the term "educate and
   24         Q. Okay.                                   24   inform." Was that also the terminology that you
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    1        A. He was in Lorain County, which was        1   used while at JSJ?
    2   the bulk of my territory, so ...                  2         A. Sure. Yes.
    3        Q. Okay. And then you left Lincare           3         Q. And would they also have provided
    4   to go to where?                                   4   you with materials that talked about education
    5        A. JSJ Pharmaceuticals.                      5   and -- educate and inform?
    6        Q. And why did you leave Lincare?            6         A. They would, yes.
    7        A. I was looking for a different             7         Q. And were those materials to be
    8   opportunity and I was offered it at this          8   provided to the healthcare professionals you
    9   company.                                          9   dealt with or just for you?
   10        Q. Okay. And where was it that you          10         A. It was always, as far as I can
   11   worked for JSJ?                                  11   recall, for my own information and training, not
   12        A. I covered the Cleveland, Akron,          12   to be shared with providers.
   13   Canton, Toledo, Columbus market, Youngstown, I   13         Q. Was that the first time that the
   14   believe, yeah.                                   14   terminology -- that you became familiar with
   15        Q. And who was your direct report           15   that terminology, "educate and inform"?
   16   while there?                                     16         A. I believe so.
   17        A. Karen Savage.                            17         Q. Would that have been the first
   18        Q. And how long were you there? It          18   time, at least, that you had received actual
   19   says 2008 to --                                  19   written materials from an employer that talked
   20        A. Yeah, 2010.                              20   about educating and informing?
   21        Q. Okay. And were your duties and           21         A. As far as I can recall, yes.
   22   responsibilities pretty much the same between    22         Q. And would the materials that you
   23   2008 and 2010?                                   23   had received from JSJ, would those have been
   24        A. They were.                               24   similar -- not the content, but the types of

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    1   materials that you would have received from         1         A. It would not.
    2   Mallinckrodt with regards to educate and inform?    2         Q. Okay. Why is it you left JSJ?
    3             MR. TSAI: Object to the form.             3         A. They went out of business. We all
    4             Go ahead.                                 4   left JSJ.
    5         A. That's apples and oranges. These           5         Q. Okay. And then from JSJ, where
    6   were skin conditions. It was vastly different.      6   did you go?
    7         Q. Okay. But to be clear, you would           7         A. I went to Mallinckrodt, which was
    8   have received written materials from                8   then Covidien.
    9   Mallinckrodt during your term there which talked    9         Q. Okay. I'm going to refer to it as
   10   about educate and inform, correct?                 10   Mallinckrodt; is that okay?
   11         A. That's correct.                           11         A. That's fine.
   12         Q. Your compensation at JSJ, was             12         Q. All right. And how long were you
   13   there a salary?                                    13   at Mallinckrodt?
   14         A. There was a salary.                       14         A. A month after I left JSJ. So I
   15         Q. Was there a bonus program?                15   think it was April 2010 until September --
   16         A. There was.                                16   August, September of 2014.
   17         Q. Okay. And how was the bonus               17         Q. All right. Did you know anybody
   18   computed?                                          18   at Mallinckrodt before going over there?
   19         A. We were paid on a draw, so it was         19         A. I didn't know anyone.
   20   a quarterly draw depending on what you brought     20         Q. How is it that you became aware of
   21   into the territory. I don't remember the           21   a position at Mallinckrodt?
   22   specifics. It was a convoluted bonus program, I    22         A. A recruiter. I submitted my
   23   think by design.                                   23   resumé as I was looking for a job, and a
   24         Q. Yeah. Let me ask you this way.            24   recruiter contacted me about an opening in
                                                Page 39                                                 Page 41
    1   If the healthcare professionals that you were --    1   Cleveland.
    2   if I say "targeting," do you -- are you familiar    2         Q. Okay. And what position were you
    3   with that?                                          3   hired in?
    4         A. I am.                                      4         A. I was hired in the Cleveland west
    5         Q. All right. If it was -- if the             5   territory.
    6   healthcare professionals that you were targeting    6                 ---
    7   purchased more product, more JSJ product, would     7       (Mallinckrodt-Cox Exhibit 3 marked.)
    8   you receive more of a bonus?                        8                 ---
    9         A. The physicians never purchased any         9   BY MR. DEARMAN:
   10   product from us.                                   10         Q. I'm going to show you what I'm
   11         Q. Okay. If the physicians who you           11   going to mark as Exhibit 3, which is Bates range
   12   targeted wrote prescriptions to patients who       12   8510 through 8515.
   13   filled prescriptions for JSJ products, would       13             Are you familiar with this
   14   that reflect in your bonus?                        14   document?
   15         A. It depended on -- the answer is           15         A. I am, yeah.
   16   yes, however, there was more to it. It had to      16         Q. Okay. It indicates that you were
   17   do with attainment to goal and things like that.   17   offered, back in April of 2010, a pharmaceutical
   18   And truly, I don't remember the specifics of       18   sales specialist position --
   19   this bonus plan. I remember it being               19         A. Mm-hmm.
   20   complicated.                                       20         Q. -- in the specialty
   21         Q. Okay. If doctors that you had             21   pharmaceuticals business. Does that sound
   22   been targeting your territory wrote less           22   accurate?
   23   prescriptions month over month over month, would   23         A. It is.
   24   you -- would your bonus increase?                  24         Q. Okay. It refers to your salary of

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    1           annualized?                                 1   when I was on maternity leave, so I didn't have
    2         A. Mm-hmm.                                    2   much -- it was a very short period of time.
    3         Q. Underneath that first paragraph it         3        Q. What kind of attorney is your
    4   talks about "variable compensation," and it says    4   husband?
    5   you that -- it says that you will be eligible to    5        A. A corporate capital markets
    6   participate in the sales incentive compensation     6   attorney.
    7   program, the SICP?                                  7        Q. Does he litigate, if you know?
    8         A. Yes.                                       8        A. He does not.
    9         Q. The SCIP, was that the bonus               9        Q. Was this the first time that
   10   program?                                           10   you -- well, when you got to Mallinckrodt, were
   11         A. As far as I can remember, yes.            11   you involved with products that were controlled
   12         Q. What were your duties and                 12   substances?
   13   responsibilities as a -- well, first, who did      13        A. I was, yes.
   14   you report to when you started as a                14        Q. And which of the products that you
   15   pharmaceutical sales specialist?                   15   were responsible for were controlled substances?
   16         A. Kevin Becker, the re -- district          16        A. I was responsible for Exalgo and
   17   manager, I think, at the time was his title.       17   Pennsaid. Exalgo was the Schedule II
   18         Q. Were there other sales specialists        18   medication.
   19   that reported to Kevin?                            19        Q. That was the only Schedule II
   20         A. There was probably a team of ten.         20   medication that you were responsible for?
   21         Q. Okay. What was your -- I know you         21        A. It was.
   22   probably mentioned it already, but what was your   22        Q. What was Pennsaid?
   23   territory when you started?                        23        A. Oh, I'm sorry. And Xartemis.
   24         A. My territory when I started was --        24        Q. Okay.
                                                Page 43                                                 Page 45
    1   and it remained the same throughout my tenure       1        A. I was only there for a few months
    2   there, Cleveland west, which was mostly Lorain      2   during Xartemis and then I left and went to a
    3   County, and parts of Cuyahoga County. The           3   different company.
    4   Lorain County portion would have been Lorain,       4        Q. Okay.
    5   Elyria, Oberlin, Avon, Avon Lake. And Cuyahoga      5        A. I usually -- I forget that I
    6   County would have been Westlake and a portion of    6   even -- was even a part of that.
    7   Cleveland.                                          7        Q. All right. So Exalgo and XXR were
    8        Q. Did your territories change from            8   the two Schedule IIs?
    9   2010 to 2014?                                       9        A. They were.
   10        A. My territory never changed.                10        Q. All right. What was Pennsaid?
   11        Q. Did your duties and                        11        A. A topical NSAID for osteoarthritis
   12   responsibilities, while you were at Mallinckrodt   12   of the knee.
   13   from 2010 to 2014, change during that period of    13        Q. Would you agree that there is an
   14   time or did they remain the same?                  14   opioid epidemic in this country?
   15        A. They remained the same.                    15        A. I would agree there is an opioid
   16        Q. Okay. And what were your duties            16   epidemic.
   17   and responsibilities?                              17        Q. Would you agree that there has
   18        A. I was responsible for the                  18   been an opioid epidemic for some time in this
   19   promotion of Pennsaid and Exalgo mostly.           19   country?
   20        Q. And when you say "mostly," were            20        A. There has, yes.
   21   there other --                                     21        Q. How far back would you say that
   22        A. Yeah. We had two products,                 22   there's been an opioid epidemic, in your
   23   Sumavel DosePro and Duexis, that we promoted for   23   opinion?
   24   a very short period of time. Part of it was        24        A. I can't really say.

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    1         Q. Okay. Would you say 2000?                  1         Q. Okay. Did you ever become aware
    2         A. Probably 2000- -- probably 2005.           2   while you were at Mallinckrodt that Mallinckrodt
    3         Q. Are you familiar with the term             3   had a duty to monitor and implement a system to
    4   "CSA"?                                              4   identify suspicious orders?
    5         A. CS -- I am not familiar with that          5         A. No. I was not part of that. I
    6   term.                                               6   was only the commercial side. We had no part in
    7         Q. Are you familiar with the term             7   ordering of any type of product.
    8   "Controlled Substances Act"?                        8         Q. So you were not aware of that
    9         A. Not really, no.                            9   duty?
   10         Q. Okay. What -- "not really" leads          10         A. I was not aware of that duty.
   11   me to believe that maybe --                        11         Q. Were you aware of a duty to
   12         A. I may have heard it, but I don't          12   maintain effective controls against diversion?
   13   know what it is, yeah.                             13         A. I was not. That's not -- that was
   14         Q. Okay. Did you receive any                 14   not part of my job responsibilities.
   15   training at Mallinckrodt regarding the             15         Q. Was detecting diversion part of
   16   Controlled Substances Act?                         16   your job responsibility?
   17         A. We received a lot of training at          17         A. It was not.
   18   Mallinckrodt. I really can't -- it would have      18         Q. Are you aware there's a case
   19   been during -- the bulk of my training would       19   pending against pharmaceutical manufacturers and
   20   have been in 2010. I'm sure it included the        20   distributors involving the opioid crisis?
   21   CSA. I can't really remember what any of that      21         A. Just from what my attorneys have
   22   is, though.                                        22   shared with me. That's all I know.
   23         Q. Okay. Why are you sure that your          23         Q. Okay. Other than what your
   24   training back in 2010 would have included the      24   attorneys provided you, do you have any
                                                 Page 47                                                Page 49
    1   CSA?                                                1   knowledge of the existence of the litigation?
    2         A. We had a two-week very                     2         A. I don't, no.
    3   comprehensive training program with PharmDs,        3         Q. We talked about the training that
    4   along with a national sales meeting that was        4   you received. So there was training when you
    5   very comprehensive. We received a lot of            5   started at Mallinckrodt?
    6   training.                                           6         A. There was.
    7         Q. I asked you earlier if you were            7         Q. And where did that training take
    8   familiar with the Controlled Substances Act and     8   place?
    9   you said "not really, no." So again,                9         A. St. Louis, Missouri.
   10   notwithstanding your current answer, what was it   10         Q. And how long was that training?
   11   that leads you to believe -- or what is it that    11         A. I believe the first round was two
   12   leads you to believe that back in 2010 you would   12   weeks, maybe a week. I can't really specify,
   13   have received training on the Controlled           13   but it was over a week.
   14   Substances Act?                                    14         Q. Okay. And how about -- since you
   15         A. We received a lot of training, a          15   said "first round," I'm assuming there was a
   16   lot of different training. There were a lot of     16   second round?
   17   things going on. REMS programs, Cares Alliance     17         A. Yeah. We had training throughout,
   18   programs. I can't recall specifically CSA, but     18   which was another week, and then every time we
   19   we were -- we were well trained.                   19   got together at national sales meetings, a --
   20         Q. Okay. And so I appreciate your            20   the bulk of that -- that week would be spent
   21   response, but, again, do you know whether or not   21   reviewing and retraining and updating us on
   22   you received training on the Controlled            22   different themes in the industry, making sure
   23   Substances Act back in 2010?                       23   we're staying informed, compliant. Yeah.
   24         A. I can't recall it.                        24         Q. And when you say "themes," what do

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    1   you mean by "themes"?                              1         Q. Did your position ever change
    2         A. If there had been any changes to,         2   from -- I understand your duties and
    3   you know -- if there were certain medications      3   responsibilities were constant, but did your
    4   that were no longer available, we would be, you    4   position change from that initial position?
    5   know, informed of, you know, why they weren't      5         A. I think I was given like a
    6   available or things like that.                     6   different title. I went from like sales
    7         Q. And that would be referred to as a        7   representative to sales specialist, something
    8   theme?                                             8   like that, over a period of time, but my duties
    9         A. I mean, not -- they would                 9   and responsibilities never changed.
   10   probably -- I'm just calling it a theme. That's   10                  ---
   11   just sort of ...                                  11       (Mallinckrodt-Cox Exhibit 4 marked.)
   12         Q. The first week training that you         12                  ---
   13   received, was it classroom-type training?         13         Q. Let me show you Exhibit Number 4,
   14         A. It was.                                  14   which is Bates range 8506, 8507.
   15         Q. Did you receive materials from           15             It mentions -- this letter -- are
   16   Mallinckrodt?                                     16   you familiar with this letter, March 24, 2014?
   17         A. A binder, I believe, yes.                17         A. Yeah, I'm -- sure.
   18         Q. Do you know who performed the            18         Q. All right. Do you know who Tamara
   19   training?                                         19   Jordan is?
   20         A. The training department.                 20         A. I don't.
   21         Q. Okay. Were there other                   21         Q. Okay. Field sales specialist,
   22   pharmaceutical sales specialists in that          22   would that have been your second title at
   23   training?                                         23   Mallinckrodt?
   24         A. There were.                              24         A. I believe so, yes.
                                                Page 51                                                Page 53
    1        Q. Were there other employees other           1         Q. Again, duties and responsibilities
    2   than pharmaceutical sales, or was this just for    2   are the same?
    3   pharmaceutical sales?                              3         A. Correct.
    4        A. It was just for the sales team,            4         Q. You were reporting to Kevin Becker
    5   new sales members.                                 5   before. Are you still reporting to Kevin Becker
    6        Q. Future training that you                   6   at this point?
    7   mentioned, additional training after that first    7         A. I am.
    8   week, was there any training that would be done    8         Q. Who's Tim Dress?
    9   on a computer or a Mallinckrodt portal, like a     9         A. Tim Dress is -- he was a colleague
   10   website where you'd sign in?                      10   of mine and he was the district manager. I
   11        A. There were. There were                    11   would have reported to him for a short period of
   12   different -- there were lots of different         12   time before I left Mallinckrodt.
   13   opportunities to engage us in training. I do      13         Q. Okay. Currently it's still Kevin
   14   believe there was a portal. I can't recall the    14   Becker, though?
   15   specifics of it, but there were opportunities     15         A. At my new company, it's Kevin
   16   to, you know, gain our commitment to staying on   16   Becker, yes. Currently, yeah, my current
   17   label, refreshing our memory, just making sure    17   company.
   18   that we're staying compliant with what was on     18         Q. Okay. So the company that you're
   19   label for both products.                          19   at now, the new company, Kevin Becker is your --
   20        Q. Do you own any Mallinckrodt stock?        20         A. Yes.
   21        A. I do not.                                 21         Q. Okay. But while you were a field
   22        Q. Does your husband own any                 22   sales specialist, it was also Kevin Becker?
   23   Mallinckrodt stock?                               23         A. It was.
   24        A. He does not.                              24         Q. Okay. And here it talks about

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    1   your salary of $          and you were also         1   wasn't something that was shared to us -- shared
    2   participating in the bonus program as well?         2   with us.
    3        A. I was.                                      3         Q. Are you familiar with the term
    4        Q. Now, you worked in the -- for the           4   "abuse deterrents"?
    5   sales group, correct?                               5         A. I am.
    6        A. I do.                                       6         Q. How would you describe that or
    7        Q. Was there a marketing group?                7   explain that?
    8        A. I believe there was, yes.                   8         A. An abuse deterrent medication, to
    9        Q. Did you have any interaction with           9   me, would be a medication that would be
   10   the marketing group?                               10   difficult to compromise the integrity of the
   11        A. No.                                        11   chemical in order to use it for unintended
   12        Q. And was one of your                        12   purposes.
   13   responsibilities in this sales group to know who   13         Q. Were you aware that -- while you
   14   your competitors were?                             14   were at Mallinckrodt, were you aware that
   15        A. It was.                                    15   opioids were being used for unintended purposes?
   16        Q. And why was that one of your               16         A. I was.
   17   responsibilities?                                  17         Q. How did you become aware of that?
   18        A. Our -- we were responsible for             18         A. Physicians would tell me.
   19   knowing the competitive landscape so we could,     19         Q. Healthcare professionals that you
   20   you know, stay informed and, you know, know who    20   dealt with?
   21   the competition was, what they offered, and how    21         A. Yes, nurses -- yeah, nurses,
   22   they were different from our products.             22   doctors.
   23        Q. Would you agree that OxyContin CR          23         Q. Are you aware what the -- then let
   24   and Opana ER were your main competitors?           24   me ask you, tamper resistant, are you familiar
                                                Page 55                                                  Page 57
    1        A. I would say our main competitor             1   with that term?
    2   was Opana ER.                                       2         A. I am, yes, yes.
    3        Q. Was there any generic competition?          3         Q. So what's the -- what is "tamper
    4        A. Not that I can recall.                      4   resistant"?
    5        Q. Do you know whether -- you're               5         A. Again, it would be, to me, a
    6   familiar with Purdue?                               6   product that would be more difficult for a
    7        A. Vaguely. I just know that they're           7   patient to have unintended consequences.
    8   the maker of OxyContin.                             8         Q. So what's the difference, then,
    9        Q. Did you become aware that they              9   between abuse deterrents and tamper resistant,
   10   were forced to withdraw that product?              10   if you know?
   11        A. At some point, I do know they              11         A. I don't really know.
   12   withdrew from the market.                          12            MR. WATTS: Objection to form.
   13        Q. Do you know why?                           13         Q. Did any of the products that you
   14        A. I don't. And I -- I do -- and              14   were responsible for at Mallinckrodt have any
   15   then I'm aware they reentered with a               15   embedded type components within the drug that
   16   reformulation. But that's really the extent.       16   would not allow a euphoric result?
   17        Q. During your time at Mallinckrodt,          17         A. No. No. That was -- the -- it
   18   and with respect to the generic product line,      18   was -- Exalgo, from what I remember, had a black
   19   are you aware of what Mallinckrodt's market        19   box warning, stated very clearly that it wasn't
   20   share was?                                         20   a product that could be abused. The only way we
   21        A. I have no idea. I had no                   21   could market it was the PK graph that showed the
   22   knowledge of the generic market at all.            22   steady plasma levels in the blood, and, you
   23        Q. How about the branded?                     23   know, the doctor could go, you know, and make
   24        A. As far as market share, that               24   their own conclusions from that data.

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    1         Q. Were you aware as to whether or            1   They felt -- and it still is believed -- that
    2   not any of Mallinckrodt's competitors had an        2   short-acting medications provide more
    3   opioid that had a component within it, a drug       3   opportunity for abuse.
    4   within the opioid that would not permit             4         Q. Part of your training, did it
    5   extraction or to produce a euphoria?                5   include how to report things like that, should
    6         A. I believe Embeda had a product             6   one of your doctors have a concern about
    7   like that.                                          7   diversion in one of your products?
    8         Q. Okay. During your time at                  8         A. Yes.
    9   Mallinckrodt, did you become aware that some of     9         Q. Okay. And what was the process in
   10   the healthcare professionals became concerned      10   place?
   11   with diversion and how pills could be diverted?    11         A. I do remember every quarter we
   12         A. Yeah. I mean, doctors would               12   would have a spreadsheet where we could input
   13   sometimes share concerns with them -- with us,     13   the physician information and we could then
   14   yes.                                               14   submit it and we could -- we had -- essentially
   15         Q. All right. And who at                     15   report physicians that we didn't believe were
   16   Mallinckrodt would you report those concerns to,   16   doing the right thing.
   17   if anyone?                                         17             Again, I didn't have that in my
   18         A. So I can only speak for my                18   territory. And it should be noted, I mean, my
   19   territory.                                         19   territory -- when we started selling these
   20         Q. Understood.                               20   products, the goal was balanced selling, half
   21         A. I didn't have any providers that,         21   Exalgo, half Pennsaid. I had a very small
   22   you know, mentioned to me that they believe        22   territory. As it went on, there was not a large
   23   their patients were, you know, taking the drug     23   Exalgo market for me. At one point I was
   24   not as intended. I do believe there was a --       24   selling Pennsaid 70/30 to Exalgo.
                                                Page 59                                                 Page 61
    1   there was a system in place that you could          1             I was deemed a Pennsaid territory.
    2   report these things. But, again, my territory,      2   I had a lot of orthopedic surgeons, a lot of
    3   the majority of it was the Cleveland Clinic,        3   sports management providers. My bonus was often
    4   who's very above board, and that was never          4   composed of my Pennsaid sales. I was never
    5   something I encountered.                            5   forced to seek out this Exalgo business, because
    6         Q. So when you said sometimes doctors         6   it just didn't exist in this part of the
    7   would share concerns with us, you didn't mean       7   territory.
    8   with you?                                           8         Q. Okay. Were you aware, though,
    9         A. You know, it would -- it would be          9   that it existed in other territories?
   10   a concern, but it was not -- nothing to the        10         A. Was I aware that what existed?
   11   point where I would -- they would say, "I need     11         Q. The Exalgo business.
   12   to do something about it." It was never like       12         A. Yes, other territories that had
   13   that.                                              13   more of a 50/50, yes.
   14         Q. So they would share concerns but          14         Q. Do you know why your territory was
   15   those were not concerns that you felt were         15   more Pennsaid?
   16   necessary to report?                               16         A. Territory dynamics. I just -- the
   17         A. Correct. And it never pertained           17   way the territory was cut. I had a lot of
   18   to my drug. It would be to, you know, their        18   people that, you know -- we were running a
   19   patient population.                                19   business, and from -- you know, it was -- in
   20         Q. What do you mean by that?                 20   order for me to keep my job, I needed to sell
   21         A. If they were concerned about              21   the product that I had the most opportunity to
   22   short-acting medications or -- you know, I was     22   do so, and that was Pennsaid.
   23   only selling a long-acting medication, which       23         Q. Did you remain a field sales
   24   operates very differently than a short-acting.     24   specialist until the time that you left?

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    1         A. I did.                                     1         Q. Did you ever receive e-mails from
    2         Q. Are you familiar with the term             2   Mallinckrodt with regard to current news on
    3   "pseudo addiction"?                                 3   pharmaceutical-related issues?
    4         A. I am not, no.                              4         A. Not that I can recall.
    5         Q. "Opioid phobia"?                           5         Q. Okay. Would you agree with me --
    6         A. No, I've never heard that.                 6   and I'm going to -- I'm moving to sort of
    7         Q. What was the primary role -- or            7   compensation, but would you agree with me that
    8   your primary role as a sales rep?                   8   in general, the more prescriptions for
    9         A. My primary role was to educate and         9   Mallinckrodt products that were written in your
   10   inform healthcare professionals and their staff    10   territory, the less prescriptions that a
   11   on the use, the risk, the benefit, and the         11   competitor would have in that territory?
   12   safety of our products.                            12             MR. WATTS: Object to form.
   13         Q. Would you also agree that it is to        13         A. I think it just -- it depends on
   14   educate doctors and position the product versus    14   the patient and the doctor. I don't really
   15   competitors' products?                             15   know. I'm not equipped to answer that question.
   16         A. We were to educate them on our            16         Q. Why not?
   17   product. We were not -- we did not have the        17         A. I -- you know, doctors prescribe
   18   liberty to talk about the competition. It was      18   medications for a variety of reasons. Just
   19   for our own personal knowledge.                    19   because they choose one doesn't mean they're not
   20         Q. So had you ever told any of the           20   still going to write another one at some point.
   21   healthcare professionals the differences between   21         Q. Were you aware of the number of
   22   your product and competitors' products?            22   prescriptions that some of your doctors were
   23         A. I did not, no. Not that I can             23   writing for your products?
   24   ever recall.                                       24         A. I was.
                                                Page 63                                                  Page 65
    1        Q. Was your primary responsibility or          1         Q. Were you aware of the number of
    2   one of your primary responsibilities to grow        2   prescriptions that doctors that you were
    3   your market or your territory?                      3   targeting were writing for a competitor's
    4        A. My responsibility was to increase           4   products?
    5   prescriptions of Pennsaid and Exalgo.               5         A. I was.
    6        Q. As a sales rep, did you have an             6         Q. And why did you keep track of
    7   understanding of the number of pills being          7   that?
    8   prescribed to patients?                             8         A. So I could see if my educational
    9        A. In relation to what? Exalgo or              9   efforts were having any return.
   10   standard prescriptions?                            10         Q. And how would you judge whether
   11        Q. Well, we can start with Exalgo.            11   your educational efforts were having any return
   12        A. It would have been a 30-day                12   based on the number of prescriptions that a
   13   prescription, so it would be 30 pills.             13   healthcare professional was writing for your
   14        Q. Okay. So you were aware?                   14   product versus a competitor's product?
   15        A. Yes, mm-hmm.                               15         A. Yeah. The more time I would spend
   16        Q. While at Mallinckrodt -- do you            16   with the staff -- we would do a lunch and learn
   17   currently sell Schedule II medications?            17   maybe once a month -- if that was having an
   18        A. No. I currently sell a Schedule            18   impact on them, if they were seeing value for
   19   III medication.                                    19   their patient, if they were -- you know, I can
   20        Q. Okay. Did you ever become                  20   only promote our product, what's on label.
   21   concerned, while you were at Mallinckrodt, with    21             I can't -- I'm not in the exam
   22   the number of prescriptions that were being        22   room. That's between the doctor and the
   23   written by healthcare professionals?               23   patient. So it's a good way for me to know if
   24        A. No. I was never concerned.                 24   what I'm doing is having any effect.

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    1         Q. So if they're writing more of              1         A. No, that was never part of the
    2   prescriptions for your product and less             2   bonus. There was never market share
    3   prescriptions for a competitor's product, do you    3   discussions, from what I can recall.
    4   believe, then, that your effort is -- you           4         Q. Okay. Well, we talked about the
    5   believe that that's a result of your effort?        5   fact that you and Mallinckrodt had information
    6         A. I think that's safe to say, yes.           6   as to how many prescriptions were written in
    7         Q. Okay. The more prescriptions that          7   your territory for a specific period of time for
    8   were written in your territory, the bigger your     8   you and for competitors.
    9   bonus.                                              9         A. Mm-hmm.
   10             Do you agree with that?                  10         Q. Was that metric utilized for
   11         A. Not necessarily. It would depend          11   purposes of determining your bonus, "Hey, we
   12   on your goal.                                      12   have a bigger market share than X, Y, Z this
   13         Q. Okay. Well, let's talk about              13   month"?
   14   goals then. During your time at Mallinckrodt,      14         A. They wouldn't -- there was never a
   15   Exalgo, what were your goals?                      15   market share discussion. We never discussed --
   16         A. I have -- I could not provide you         16   we never used the term "market share" or
   17   with any -- I have no idea. It varied from         17   anything. I was never penalized or rewarded
   18   month -- from quarter to quarter. And like I       18   based on how much or how little my competitor
   19   said before, I had a Pennsaid-heavy territory.     19   was being utilized.
   20   70 percent of my compensation was based on a       20         Q. Okay. Would you agree with me
   21   topical NSAID, 30 percent, at times, was based     21   that one of the strategies in the sales
   22   on Exalgo.                                         22   department, relating to one of your roles, was
   23             I -- you could compare -- it was         23   to take share -- market share away from
   24   all relative to my territory. There was a small    24   competitors?
                                                Page 67                                                 Page 69
    1   amount to work with, so the goal would be quite     1         A. Did you say "one of the goals"?
    2   low. I wouldn't be asked to do something that       2         Q. Yeah.
    3   wasn't attainable. I would be asked to provide      3         A. One of the goals was to take share
    4   information to the appropriate doctors for the      4   away?
    5   appropriate patients, you know, and go from         5         Q. Yeah.
    6   there. There was --                                 6         A. Yeah. We were selling a product.
    7         Q. Were you aware of other reps in            7         Q. Okay. Why did you leave
    8   other territories that were being asked to do       8   Mallinckrodt?
    9   something that wasn't attainable?                   9         A. I left shortly after the launch of
   10         A. I was never aware of that.                10   Xartemis. I didn't see that as a product that
   11         Q. So are you agreeing with me, then,        11   would -- had much longevity and decided to
   12   that one of the things that went into your bonus   12   pursue other opportunities. And the right one
   13   were whether or not more prescriptions were        13   came, so I resigned and left.
   14   written in your territory over the last month?     14         Q. What do you mean, you didn't see
   15         A. I'm sorry. Can you repeat that?           15   Xartemis having longevity?
   16         Q. Sure. Would you agree with me             16         A. It was not -- in my opinion, not a
   17   that one of the components of your bonus was       17   good product. It just -- it didn't, to me, seem
   18   whether or not more prescriptions were written     18   like a product that had any sustainability. I
   19   in your territory?                                 19   didn't want to sell it. Basically I had no
   20         A. Yes.                                      20   interest in that product.
   21         Q. Would you agree with me that one          21         Q. Did you feel Exalgo was a good
   22   of the components for your bonus was measuring     22   product?
   23   your market share in your territory versus a       23         A. Yes, I did.
   24   competitor's market share?                         24         Q. Did you feel Exalgo had
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    1   sustainability?                                     1         Q. Any other reasons you resigned?
    2        A. I did.                                      2         A. No. I just wanted a better -- a
    3        Q. And did you want to sell Exalgo?            3   different job.
    4        A. I did.                                      4         Q. Was one of the things that you
    5        Q. All right. Why was Xartemis not a           5   wanted to do when you went to another company
    6   good product?                                       6   was look for a company that did not sell
    7        A. There -- in my opinion, I don't --          7   Schedule II medications?
    8   not that it wasn't a good product. It was -- to     8         A. Not necessarily. I just -- I
    9   me, it would have been a very tough sell. There     9   didn't want to be in that short-acting market.
   10   were a lot of other products on the market         10   It didn't necessarily have to be a Schedule II.
   11   similar to it, and I -- it just came down to I     11   I just -- I didn't like that kind of sell.
   12   didn't want to sell a Schedule II, short-acting    12         Q. Did you think that the
   13   medication.                                        13   short-acting product was more addictive?
   14        Q. And at what -- this was in                 14         A. No, not at all.
   15   2000- --                                           15         Q. Do you think that now?
   16        A. '14.                                       16         A. No, not necessarily.
   17        Q. When did you find out that                 17         Q. I had mentioned some of the
   18   Mallinckrodt would be selling a short-acting       18   reports that maybe you had received when I had
   19   Schedule II?                                       19   asked you about looking to the number of
   20        A. Maybe nine to twelve months prior          20   prescriptions. Would you receive reports from
   21   to the launch.                                     21   time to time at Mallinckrodt regarding the
   22        Q. And was it at that point in time           22   number of prescriptions in your territory --
   23   that you realized that you didn't want to sell     23         A. Yes.
   24   it?                                                24         Q. -- for your products?
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    1         A. No. I hung with it. I figured              1         A. Yes.
    2   I'd just, you know, see how it goes, see what       2         Q. The number of prescriptions for
    3   happens. Yeah.                                      3   competitors in your territory?
    4         Q. And what happened?                         4         A. Yes.
    5         A. Nothing. It didn't go anywhere.            5         Q. Would you receive reports that
    6   It was a dead duck. It was not fun to sell.         6   talked about doctors that you should target in
    7         Q. Why wasn't it fun to sell?                 7   your territory?
    8         A. There was very little interest in          8         A. There would be -- yeah, there
    9   it. There were a lot of other competitors to        9   would be suggestions of physicians based on
   10   it. It was expensive. It had no place in the       10   their prescribing habits which led us to, you
   11   market. I -- it really boiled down to I just       11   know, conclude that they had experience with
   12   wanted to go somewhere else.                       12   these medications and that they could safely and
   13         Q. Okay. But you said you didn't             13   effectively treat their patients.
   14   want to sell short-term --                         14         Q. What about their prescribing
   15         A. Yeah, short-acting medications.           15   habits would tell you that they had experience
   16         Q. Short-acting medications.                 16   and could safely and effectively prescribe these
   17         A. I just had no -- my experience was        17   medications?
   18   with long acting, and I didn't want to sell -- I   18         A. If they -- if they wrote a variety
   19   didn't have any desire to sell in a surgery        19   of Schedule II long actings and they were board
   20   center type environment. So I left. I never        20   certified in pain management, that would be a
   21   even -- I didn't stay long enough to even          21   good indication that they had knowledge of the
   22   receive any type of bonus from Xartemis. We        22   risks and the safety components of those
   23   launched in April or May of 2014. I resigned       23   medications. So they would be a viable
   24   that summer.                                       24   customer.

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    1         Q. Are you familiar with what a push          1   physicians that fall within our territory, and
    2   report is?                                          2   the target list would be the doctors that were
    3         A. A push report? No, I'm not.                3   vetted as appropriate doctors for our products.
    4            MR. TSAI: Mark, we've been going           4         Q. And do you see in the second
    5         about an hour since the last break. Do        5   paragraph, "In this report you will find your
    6         you want to take a quick break?               6   Exalgo targets eligible for the SPIF identified
    7            MR. DEARMAN: I'd like to ask a             7   with an asterisk"?
    8         question about this exhibit, and then we      8         A. Yes.
    9         can take a break.                             9         Q. What is the "SPIF"?
   10            MR. TSAI: Okay.                           10         A. I don't know SPIF.
   11                 ---                                  11         Q. Do you know what "IMS ID" is?
   12        (Mallinckrodt-Cox Exhibit 5 marked.)          12         A. I -- oh, IMS ID? Yes.
   13                 ---                                  13         Q. What is that?
   14   BY MR. DEARMAN:                                    14         A. Just the set of numbers that are
   15         Q. I'm going to show you what we're          15   next to the provider in the IMS data.
   16   going to mark as Exhibit Number 5, which is an     16         Q. If you turn to the actual
   17   e-mail that is 3648 to 3649. And attached to it    17   spreadsheet that's attached to this document,
   18   is a 50602 Rx push report.                         18   are you familiar with any of the prescribers?
   19            Do you know who Jennifer Terp is?         19         A. I am.
   20         A. I don't.                                  20         Q. Okay. Were any of these
   21         Q. Okay. Do you see that Jennifer            21   prescribers in your territory?
   22   Terp sent you an e-mail on May 10, 2013?           22         A. They were.
   23         A. I see that, yes.                          23         Q. All right. And did you understand
   24         Q. Do you have any reason to believe         24   that this was providing you with information on
                                                Page 75                                                 Page 77
    1   you didn't receive this in the ordinary course      1   Exalgo prescriptions versus competitor or market
    2   of your business?                                   2   prescriptions? Let me strike that.
    3         A. I don't remember it, but I'm sure          3             What was the purpose of you
    4   I received it.                                      4   receiving this report?
    5         Q. Okay. Do you see where it says             5         A. It's probably just -- it looks --
    6   "Attachment: Push report"?                          6   from looking at this e-mail, there was probably
    7         A. Yes.                                       7   some realignment to certain territories. I
    8         Q. And it says, "Attached is your             8   never had, you know, a realignment, and some
    9   push report with product and market scripts for     9   targets may have changed from one territory to
   10   Exalgo, Pennsaid and Duexis."                      10   another. So she was probably sending out just a
   11         A. Mm-hmm.                                   11   list of providers that are in our territories.
   12         Q. What's Duexis?                            12         Q. Okay. Well, if you look at that
   13         A. Duexis was a ibuprofen and Pepcid         13   first name, Timothy Ko?
   14   product that we co-promoted with another company   14         A. Mm-hmm.
   15   for a very short period of time.                   15         Q. 1100 Euclid Ave.?
   16         Q. All right. And it says it's for           16         A. Yes.
   17   the "April 19 data week based upon Q3 alignment    17         Q. 13-week total Exalgo?
   18   and target list" --                                18         A. Yes.
   19         A. Sure.                                     19         Q. Do you know what that 24.1
   20         Q. -- "as indicated by territory             20   reflects?
   21   numbers."                                          21         A. I'm assuming over 13 weeks he
   22            What is an "alignment and target          22   wrote 24.1 prescriptions.
   23   list"?                                             23         Q. Okay. Do you know what the
   24         A. Well, alignment would be the              24   13-week total market is?

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    1        A. I have no idea what that would              1   don't --
    2   entail.                                             2        Q.     Okay. If you'd take a look at --
    3        Q. Okay. Are you aware that the                3             MR. DEARMAN: I tabbed it on
    4   market was defining other competitors' products?    4         yours, Rocky, because I don't know how
    5        A. Yeah. I mean, looking at this, it           5         many pages it's in.
    6   obviously did, but I don't remember any of that.    6   BY MR. DEARMAN:
    7        Q. Right. But this goes -- this is             7         Q. But it looks like it's one, two,
    8   consistent with you saying that you had an idea     8   three -- it looks like it's four pages in or
    9   of number of prescriptions --                       9   five pages into the spreadsheet.
   10        A. Yeah.                                      10         A. Yeah.
   11        Q. -- versus competitor                       11         Q. Your name appears there. It's a
   12   prescriptions?                                     12   current rank -- current ranking is 192. Maybe
   13        A. Sure.                                      13   that's the best way to use it to look.
   14        Q. Okay.                                      14         A. Yeah. So that was the --
   15                ---                                   15   following the year that I was out for a good
   16       (Mallinckrodt-Cox Exhibit 6 marked.)           16   portion of it.
   17                ---                                   17         Q. Okay. So current year-to-date
   18   BY MR. DEARMAN:                                    18   rank is what? And it says 192, but what does
   19        Q. I'll show you another document.            19   that mean?
   20            MR. TSAI: Are we on to a new --           20         A. Current year-to-date rank 192 out
   21            MR. DEARMAN: Now we can take a            21   of 211.
   22        break. I'm sorry.                             22         Q. Okay. And your current QTD rank,
   23            THE VIDEOGRAPHER: Off the record,         23   do you know what "QTD" is?
   24        10:35.                                        24         A. Quarter-to-date.
                                                Page 79                                              Page 81
    1              (Recess taken.)                          1         Q. Okay.
    2              THE VIDEOGRAPHER: On the record,         2         A. 162.
    3          10:48.                                       3         Q. All right. And then there's some
    4   BY MR. DEARMAN:                                     4   other fields and it's got your name.
    5          Q. I'm going to show you a document          5             Do you see that?
    6   we're going to mark as Exhibit Number 6, which      6         A. I do.
    7   is Bates range 0455, and then it's got -- it's a    7         Q. Region, is that your region,
    8   spreadsheet that looks like it goes through --      8   5000 -- or 50,000?
    9   it's the same number all the way across because     9         A. It looks like it, yeah.
   10   it was natively produced. I tabbed yours           10         Q. Well, had you -- are you familiar
   11   because that's the page I'm going to talk about,   11   with any of those numbers? Region --
   12   so ...                                             12         A. I am not. They changed a lot
   13              Take a look at the document and         13   for -- the region numbers changed.
   14   tell me if you're familiar with this.              14         Q. Okay. How about district number?
   15              Do you know what the President's        15         A. That all changed as well.
   16   Club is?                                           16         Q. Territory?
   17          A. Yes.                                     17         A. Territory was always Cleveland
   18          Q. What is that?                            18   west.
   19          A. A year-long contest for                  19         Q. Okay. Which it does reflect that
   20   high-performing salespersons.                      20   under territory name, right?
   21          Q. Were you a high-performing               21         A. It does.
   22   salesperson?                                       22         Q. And then you see where it says
   23          A. I was, but it looks like during          23   "Frozen Quarter's Final Rank"?
   24   this time period, I was on maternity leave. I      24         A. Yes.
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    1        Q. And next to that it says "P/E               1   cut. I had a lot of orthopedic surgeons that
    2   Product Weight % (E/S/N)"?                          2   were good targets for the NSAID market.
    3        A. Sure.                                       3              And the other way they would
    4        Q. What is "P/E product"?                      4   figure this is, the commercial -- the payer --
    5        A. I think that would mean                     5   the insurance payer mix was very poor in my
    6   Pennsaid/Exalgo.                                    6   area. BWC, CareSource, they didn't pay for
    7        Q. Okay. And "weight percentage                7   Exalgo. I couldn't move business that an
    8   E/S/N," what does that mean?                        8   insurer wouldn't pay for.
    9        A. I have no idea.                             9         Q. Why wouldn't they pay for it?
   10        Q. All right. Do you know what the            10         A. It was too expensive.
   11   60/20/20 means?                                    11         Q. In 2013, though, this shows that
   12        A. I have no -- probably 60 Pennsaid,         12   your year -- for that year it was 60 percent
   13   20 Exalgo and 20 -- I don't know -- maybe          13   Exalgo and 40 percent the other products,
   14   Sumavel.                                           14   correct?
   15        Q. Well, the E -- the E could be --           15         A. Sure.
   16   see where it says "E/S/N"?                         16         Q. All right. "Budget attainment,"
   17        A. Yes.                                       17   do you know what that is, which is a couple of
   18        Q. Do you know what the "E" stands            18   columns over. It says 95 percent.
   19   for?                                               19         A. Yes. I don't recall what like
   20        A. Exalgo.                                    20   that actually meant, though.
   21        Q. Okay. Do you know what the "S"             21         Q. Okay. How often -- did you
   22   stands for?                                        22   receive one of these every year?
   23        A. Sumavel.                                   23         A. Yes, but it didn't always look
   24        Q. And how about the "N"?                     24   like this.
                                                Page 83                                                Page 85
    1         A. Probably NSAID --                          1        Q. Understood. This one you were 192
    2         Q. Okay.                                      2   out of 211?
    3         A. -- for Duexis and -- if we had all         3        A. Right.
    4   four products.                                      4        Q. Do you recall finishing higher
    5         Q. Okay. So do you see here where             5   than 192?
    6   under the "E" it's 60, under the "S" it's 20 and    6        A. That year?
    7   under the "N" it's 20?                              7        Q. Any year.
    8         A. Sure.                                      8        A. Oh, sure, yes.
    9         Q. So does that mean 60 percent --            9        Q. Okay.
   10         A. Was --                                    10        A. Like I said, this was -- I believe
   11         Q. -- Exalgo?                                11   I was out a portion of the year due to having a
   12         A. 60 percent Exalgo, the other              12   baby.
   13   40 percent was the other products.                 13        Q. 2010, do you know where you were,
   14         Q. Okay.                                     14   where you fell in the --
   15         A. That makes sense, yeah. And               15        A. No, there were so many rank
   16   that's pretty consistent throughout my time        16   reports, I don't remember.
   17   there.                                             17        Q. Okay.
   18         Q. Was 60/40?                                18        A. Certain quarters I did really
   19         A. Sometimes 70/30. This -- at this          19   well. Certain -- it just ebbs and flows.
   20   point it was 60/40 because we had two other        20        Q. And just to get clarity, sometimes
   21   products, but the majority of my time was just     21   you would be responsible for two medications,
   22   Pennsaid and Exalgo. And, again, at one point      22   sometimes three; is that correct?
   23   it was -- like I said, it was 70/30. It was        23        A. Very -- yes. The majority of the
   24   largely due to the way that the territory was      24   time it was two.

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    1         Q. Okay.                                      1   on any of the information that you provided?
    2         A. And then for a small -- I don't            2         A. I can't recall having that
    3   know how many -- it was months maybe. Maybe a       3   conversation with a physician on whether they
    4   year. Sumavel and Duexis.                           4   relied on that. They would have to -- they
    5         Q. Do you believe that 2013 was your          5   trusted that when I came in, I stayed compliant
    6   highest percentage of Exalgo over your other        6   on our message, spoke to the indication for the
    7   drugs?                                              7   appropriate patient, but ultimately the decision
    8         A. No, when we launched it was 50.            8   is theirs.
    9   Yeah, so, yeah, that probably is right. Yeah,       9                  ---
   10   this might of -- this was probably the highest,    10        (Mallinckrodt-Cox Exhibit 7 marked.)
   11   60. You're right.                                  11                  ---
   12         Q. You don't believe you were ever           12   BY MR. DEARMAN:
   13   higher than 60 percent versus your other           13         Q. I'm going to show you Exhibit
   14   product?                                           14   Number 7 which is 1994, 1995. And it's got a
   15         A. No, no. I wouldn't have been.             15   report attached to it that's three pages. The
   16         Q. Okay.                                     16   e-mail, which is 1994, 199 -- 1994, it's just
   17         A. The territory was just not made up        17   one page. That's from you to you.
   18   like that.                                         18              Do you see that?
   19         Q. What was your expectation of              19         A. Sure.
   20   whether physicians relied on a sales               20         Q. Now, is -- was your Gmail your --
   21   representative in deciding whether to prescribe    21   was that your personal e-mail?
   22   a drug?                                            22         A. It was.
   23         A. I didn't have any expectation from        23         Q. Okay. Is that still your Gmail?
   24   the physician.                                     24         A. It is.
                                                Page 87                                                 Page 89
    1        Q. You didn't have an expectation one          1        Q.     It is, okay.
    2   way or the other?                                   2             And have you searched your Gmail
    3        A. No.                                         3   for any documents relating to your time at
    4        Q. Do you think that they ever relied          4   Mallinckrodt?
    5   on any of the things that you told them during      5         A. I have not.
    6   your meetings?                                      6         Q. Well, here's one e-mail where you
    7        A. My job was to educate and inform            7   sent it from your work address to your home
    8   them on the risks, the safety, the benefits, the    8   address, correct? To your personal e-mail
    9   PK profile of our product within label. What        9   address, correct?
   10   happened in the exam room was between them and     10         A. Yes.
   11   the patient.                                       11         Q. Okay.
   12             MR. DEARMAN: Move to strike as           12         A. It probably had to do with the
   13        nonresponsive.                                13   computer I was trying to look at it on.
   14   BY MR. DEARMAN:                                    14         Q. Okay. Were there times that it
   15        Q. What was your expectation of               15   was easier to look at reports on your other
   16   whether physicians relied on you in deciding       16   computer?
   17   whether to prescribe any of the drugs that you     17         A. Yes. This was probably one of
   18   were presenting?                                   18   them.
   19        A. I don't believe a physician would          19         Q. Okay. This is an Xponent weekly
   20   ever -- they would -- they would expect me to      20   report. Do you see that?
   21   provide accurate information, but they would       21         A. I see that, yes.
   22   never rely on me.                                  22         Q. Okay. Any reason -- well, you
   23        Q. Did you ever have a conversation           23   sent it to yourself. Any reason to believe you
   24   with a physician as to whether or not they rely    24   didn't receive this Xponent weekly report?
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    1          A. No, I got it. Yeah.                    1         A. Yes.
    2          Q. And it says "weekly." So this          2         Q. MS Contin?
    3   would have been something that you received      3         A. Yes.
    4   weekly?                                          4         Q. Opana?
    5          A. I guess, yes.                          5         A. Mm-hmm.
    6          Q. Okay. Do you have any reason to        6         Q. Oramorph?
    7   believe you didn't receive a report like this    7         A. Yeah. I've never heard of that.
    8   weekly?                                          8         Q. All right. And the OxyContin?
    9          A. I don't remember anything called       9         A. Yes.
   10   an Xponent weekly report, but I mean, I         10         Q. And so it talks -- it shows you
   11   obviously got one, so ...                       11   information by week for Mallinckrodt's products
   12          Q. Okay.                                 12   and for competitor products?
   13          A. I'm trying to even figure out what    13         A. Right. This is, I'm assuming, my
   14   it is.                                          14   territory?
   15          Q. All right. Well, take a look at       15         Q. Yeah, I think it is. I don't
   16   the report, if you don't mind, which is the     16   know. And I'm not sure that that provides you
   17   spreadsheet.                                    17   with information because you didn't recognize
   18          A. Okay.                                 18   any of the doctors, and I only have the As, so I
   19             Oh. This is just the IMS data.        19   didn't bring B through Z.
   20          Q. Yeah. Do you know any of the          20         A. I don't know any of these doctors.
   21   physicians on this?                             21         Q. Right, right.
   22          A. On this one page, no, I don't.        22         A. Yeah.
   23          Q. Okay. And do you see at the top       23         Q. I'm going to show you another
   24   of this where it says "Products"?               24   document.
                                              Page 91                                                Page 93
    1       A.   Yes.                                    1                    ---
    2       Q.   Avinza total?                           2       (Mallinckrodt-Cox Exhibit 8 marked.)
    3       A.   Yes.                                    3                    ---
    4       Q.   Do you know what that is?               4   BY MR. DEARMAN:
    5       A.   Yeah.                                   5         Q. And this is Bates 8 -- this is
    6       Q.   What is it?                             6   Bates 9991, and attached to it is a spreadsheet
    7       A.   A morphine product.                     7   that is a lot of pages. This report says, at
    8       Q.   Okay. A competitor product?             8   the top, it's from October 1, 2013 to June 5,
    9       A.   It is.                                  9   2014.
   10       Q.   Dilaudid?                              10              Do you see that?
   11       A.   Yes.                                   11         A. Mm-hmm.
   12       Q.   Competitor product?                    12         Q. All right. Are you familiar with
   13       A.   Mm-hmm.                                13   this report?
   14       Q.   Duragesic?                             14         A. Not at all. This is -- looks like
   15       A.   Yes.                                   15   doctors from all over the country, and maybe the
   16       Q.   Competitor?                            16   type of samples that were given to them.
   17       A.   Yes.                                   17         Q. Can I see the exhibit for a
   18       Q.   Embeda?                                18   second. Thanks.
   19       A.   Yes.                                   19              If I just tab that page or -- but
   20       Q.   Competitor?                            20   I just turned it sideways just so you can see
   21       A.   It was.                                21   that your name appears on one of the things
   22       Q.   Okay. Then we see your Exalgo?         22   going across -- not that. That. If you look
   23       A.   Yes.                                   23   down there.
   24       Q.   Kadian, competitor product?            24         A. Okay.

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    1         Q. So do you know what the -- and if          1   you know, pay for that.
    2   you then -- if you're looking at the first page     2        Q. Did you make a record of all of
    3   next to it so you can see the columns --            3   the calls that you made every day?
    4         A. Mm-hmm.                                    4        A. I was supposed to.
    5         Q. -- do you know what "MENDCDP" is?          5        Q. Okay. What do you mean by that?
    6         A. I believe it refers to the                 6        A. Sometimes we'd just forget. Like
    7   physicians' NDC number.                             7   I went in this office and talked to the doctor
    8         Q. Okay. You see where it says "Call          8   briefly and --
    9   date"? You're going to see that again on the        9        Q. Well -- okay. So instead of
   10   first page.                                        10   talking about what you did, what was the policy
   11         A. Yeah.                                     11   and procedures, while you were with
   12         Q. Right. So is this something that          12   Mallinckrodt, relating to what you should record
   13   would -- did you keep track of the calls that      13   with regard to calls?
   14   you made?                                          14        A. So we were to record samples
   15         A. Yes. Well, yes, especially if             15   given, but that was easy because it had to be,
   16   there was a sample event -- given.                 16   you know, inputted how many samples you gave.
   17         Q. Okay. And so would you explain            17   So there was a record.
   18   that?                                              18        Q. Okay.
   19         A. So we had samples of Pennsaid, and        19        A. And we also had to --
   20   this provider, Kevin Masterson, was someone who    20        Q. Let's assume we're not -- no
   21   I called on during that time, and he has to sign   21   samples. What is it that you were going to
   22   for the samples, so it would be time stamped.      22   record, if anything?
   23         Q. Did you ever provide any samples          23        A. For Exalgo?
   24   of Exalgo?                                         24        Q. Okay.
                                                Page 95                                                       Page 97
    1         A. No.                                        1         A. For anything? Yeah, the type of
    2         Q. Okay. Did you ever provide                 2   message we delivered, dosing. It was a type of
    3   samples of any Schedule II medications?             3   message.
    4         A. No, that's -- it wasn't available.         4         Q. Okay. And what were the types of
    5   It's not legal.                                     5   messages that you would deliver with Exalgo?
    6         Q. Did you ever provide any coupons           6         A. I don't remember. I mean, they
    7   for Schedule II medications?                        7   were -- they were standard dosing, safety.
    8         A. Copay cards, yes.                          8         Q. And those were supposed to be
    9         Q. Okay. What's a copay card?                 9   recorded as part of your call notes?
   10         A. Something that the patient could          10         A. They weren't always recorded, no,
   11   use for their commercial insurance to help         11   and we were not allowed to type in call notes.
   12   offset the high cost of the prescription.          12   We were not -- that was not even an option on
   13         Q. Did you provide any copay cards           13   our system.
   14   which provided free medication, Schedule II        14         Q. Okay. Why not?
   15   medications?                                       15         A. That system just didn't -- it
   16         A. We had a free trial program where         16   was -- we always -- every time we were -- if we
   17   the patient could -- if the doctor wrote the       17   were there and we left a piece of information,
   18   prescription for Exalgo, they thought that the     18   it always had the product insert with the black
   19   patient was a good candidate for the product,      19   box on it. So that's assumed.
   20   the free trial program, I don't remember the       20         Q. Okay. Okay.
   21   specifics of it, allowed them to get three to      21         A. Even coupons -- even copay cards
   22   five days of medication without any copay.         22   have a PI on them and have a black box. So that
   23   After that, their insurance would be adjudicated   23   wouldn't have been something we would have noted
   24   and they would need to -- if there was a copay,    24   on every call. It was expected.

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    1         Q. Okay. So was the policy and                1         A. No, no.
    2   procedure that if it was on the black box, you      2         Q. All right. Was there a place to
    3   didn't have to record it on the call note?          3   put the comments, any comments?
    4         A. We didn't have to record that on           4         A. There was no place to put any
    5   the call note, no.                                  5   comments.
    6         Q. That was the policy and procedure?         6         Q. If the doctor asked you a question
    7         A. I don't know if that was like the          7   about something, was there a place to put that
    8   set policy or procedure, but ...                    8   in there?
    9         Q. Was that your policy and                   9         A. If the doctor asked us a question
   10   procedure?                                         10   that was on label and we could answer it, I
   11         A. I always made sure I left a PI on         11   would verbally answer it. If the doctor asked
   12   calls.                                             12   us a question that was off label or they had a
   13         Q. Okay. Again, and I appreciate             13   question about a certain patient type, there was
   14   that, but I'm asking you about policies and        14   a place where we could go right in that
   15   procedures that the company had with regard to     15   interface called a MIRF request --
   16   recording the calls that you made.                 16         Q. A who?
   17         A. Yeah.                                     17         A. A MIRF, M-I-R-F, medical
   18         Q. And I'm even limiting it, at this         18   information request form. It directed us to an
   19   point, to Exalgo, and I'm asking you with regard   19   online portal. I typed in the question. The
   20   to the message that you provided, was that         20   physician then had to sign for the question, and
   21   information recorded?                              21   it went to our Medical Affairs team where they
   22         A. Yes, that information was                 22   would then contact the doctor privately.
   23   generally recorded.                                23             I was never privy. I never was
   24         Q. Okay. And that would be                   24   cc'd on any e-mail or phone call or anything. I
                                                Page 99                                                Page 101
    1   handwritten?                                        1   would even have to follow up to make sure it was
    2         A. No.                                        2   completed.
    3         Q. Okay.                                      3         Q. You would or would not?
    4         A. There would be a series of                 4         A. I would. It always was, but ...
    5   drop-down boxes.                                    5         Q. Okay.
    6         Q. Okay. And you would check                  6         A. Then they would have a scientific
    7   something off?                                      7   discussion on label with the provider. We were
    8         A. Correct.                                   8   never allowed to talk off label about the
    9         Q. And would this be on like an iPad?         9   product outside of the guidelines. If they had
   10         A. A laptop, yes.                            10   a question that was outside of the black box or
   11         Q. Okay. And would you do this after         11   outside of the PI, it needed to be addressed
   12   the call?                                          12   with the Medical Affairs team.
   13         A. Yes.                                      13             And, yes, that's the only place
   14         Q. Would you indicate how long the           14   where we could put any comments, and it was just
   15   call lasted?                                       15   a box where we could type out their question and
   16         A. Not usually, no.                          16   how the doctor would like to receive the
   17         Q. Okay. Was there a place for that?         17   information, via phone or whatever.
   18         A. I don't -- I've looked at so many         18         Q. If a doctor talked to you about
   19   different interfaces over the -- I believe so.     19   his concern with diversion, is that something
   20   I don't think it was on there.                     20   you would put into that --
   21         Q. You do or you don't?                      21         A. Sure.
   22         A. I don't.                                  22         Q. And that never happened in your
   23         Q. Okay. So the amount of time that          23   territory, correct?
   24   you spent was not part of that process?            24         A. No. I don't recall.

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    1        Q. Are you familiar with the terms            1   the HCP."
    2   "influence selling process"?                       2             "HCP" is healthcare professional?
    3        A. I am, yes.                                 3         A. Yes.
    4        Q. And what is that?                          4         Q. -- to focus on your agenda.
    5        A. It was like a model we used to,            5         A. Mm-hmm.
    6   you know, sell to our customers. It was a          6         Q. It says "Shuts down thinking."
    7   short-lived theory that we tried out for a bit     7             What does that mean?
    8   of time.                                           8         A. I don't know what they mean by
    9        Q. Do you know what period of time?           9   that. This was not something I did. I mean, I
   10        A. I think 2013, maybe. I'm not sure         10   was supposed to. I think I did it -- you know,
   11   exactly.                                          11   tried it out. This is a selling technique. In
   12        Q. Let me show you a document which          12   my territory, again, it was just -- it was not
   13   we're going to mark as Exhibit 9.                 13   one where this was sort of a -- I didn't spend a
   14                  ---                                14   lot of time influence selling.
   15       (Mallinckrodt-Cox Exhibit 9 marked.)          15             At this point I had been in the
   16                  ---                                16   territory for three years. I knew my targets
   17   BY MR. DEARMAN:                                   17   and, you know, this was something they were
   18        Q. You see the e-mail from Kevin             18   putting out there for us to try and, you know,
   19   Becker to a number of people on 10/18/2013?       19   maybe have deeper conversations, more detailed
   20        A. Yes.                                      20   discussions with our providers. So I -- when
   21        Q. Do you see your name in that              21   they say "shuts down thinking," I don't really
   22   recipient list?                                   22   know.
   23        A. Yes.                                      23         Q. But you said you did try this
   24        Q. Do you have any reason to believe         24   technique for a while?
                                               Page 103                                               Page 105
    1   you didn't receive this in the ordinary course     1         A. I was instructed to give it a
    2   of your business?                                  2   shot, yeah.
    3         A. I'm sure I did.                           3         Q. Okay. Do you know whether others
    4         Q. Okay. Can you take a look at the          4   were using this technique?
    5   attachment, which is a "One Mallinckrodt           5         A. I don't know.
    6   workshop slides final"?                            6         Q. You specifically mentioned your
    7         A. Yes.                                      7   territory and in regards to whether or not this
    8         Q. And are you familiar with this            8   was going to be effective in your territory.
    9   document?                                          9         A. Yeah.
   10         A. I'm not familiar with it. I              10         Q. Did you think it was going to be
   11   remember this was a topic.                        11   effective in other territories maybe more than
   12         Q. If you turn to the third page of         12   yours?
   13   the document, under "Influence Selling Is         13         A. I don't know. I'm not in -- I --
   14   "Win-Win." Would you from time to time have       14   I didn't have a position that took me into other
   15   either meetings or trainings regarding sales      15   territories. I can only speak for my own.
   16   techniques?                                       16         Q. Would you agree, though, this
   17         A. Yes, we would from -- yes. A             17   applied to Exalgo as well as whatever other
   18   couple a year.                                    18   drugs?
   19         Q. Okay. And would something like           19         A. Sure. Yes.
   20   this be something that you would receive at one   20         Q. Okay. Are you familiar with what
   21   of those type of programs?                        21   an emotional transition is?
   22         A. Sure. Yeah.                              22         A. No.
   23         Q. Okay. Under "Influence Selling is        23         Q. If you turn the page --
   24   Win-Win," it says, "Provoke and Challenge. Tell   24   unfortunately, these are not numbered, so if you

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    1   turn past the influence selling, the next page,     1   Keep going. Keep going. Keep going. Keep
    2   you'll see at the top it says "Exercise Example:    2   going. That's it.
    3   Emotional Transitions"?                             3             Do you see this -- I don't know if
    4        A. Mm-hmm.                                     4   this is a product insert or what it is. Are you
    5        Q. Did you use any of these                    5   familiar with this? The document -- it says,
    6   transitions with any of your HCPs?                  6   "Now may be the time for a switch?"
    7        A. I can't recall ever using any of            7         A. Yes.
    8   these.                                              8         Q. Okay. Is this a type of material
    9        Q. Okay. If you turn about four more           9   that you would have provided to an HCP?
   10   pages or five more pages, it goes, "What does      10         A. Yes, I believe so.
   11   your customer think and why?"                      11         Q. Are you -- as you sit here today,
   12        A. Sure.                                      12   do you recall this?
   13        Q. Do you see that?                           13         A. I recall, like, seeing this
   14        A. Mm-hmm.                                    14   before. I don't ever recall having this out in
   15        Q. So your customer is the HCP,               15   the field with me, but I do remember, like, this
   16   correct?                                           16   picture.
   17        A. Yes.                                       17         Q. Okay. If you turn the page, the
   18        Q. And do you see the picture in the          18   next one says, "Once daily Exalgo may help
   19   middle of the screen?                              19   reduce pill burden"?
   20        A. Yes.                                       20         A. Yes.
   21        Q. Is that supposed to be a brain?            21         Q. All right. What is -- and so if
   22        A. It would appear to.                        22   you were going to provide something like this to
   23        Q. Okay. And there are some bubbles           23   the doctor, why would you -- why would you do
   24   in the brain. What do those bubbles say?           24   it? A document that says, "Once daily Exalgo
                                               Page 107                                                Page 109
    1         A. OxyContin, Opana ER, and Exalgo.           1   may help reduce pill burden."
    2         Q. And it says, "How big is the               2         A. So it would be to -- you would
    3   bubble? Why?"                                       3   show this to show that instead of taking
    4             Do you see that?                          4   multiple pills of other products, one pill of
    5         A. Yes.                                       5   Exalgo would -- would hopefully be sufficient to
    6         Q. Do you know what the purpose of            6   managing their pain instead of many patients --
    7   this picture is and why they're showing you         7   instead of patients taking a pill every four,
    8   these other -- these drugs?                         8   six, eight hours, this illustrated --
    9         A. I have no idea.                            9            Now, this is just one piece, but
   10         Q. All right. Would you agree that           10   there would also be -- it might be on here -- a
   11   Exalgo is -- that was a Mallinckrodt product?      11   PK graph to show that Exalgo stayed in the blood
   12         A. It was.                                   12   system for 24 hours. It was just -- this was
   13         Q. The other two products were               13   another way to illustrate -- illustrate the PK's
   14   competitor products?                               14   data.
   15         A. Yes.                                      15         Q. Okay.
   16         Q. "How big is the bubble?" Do you           16         A. And you mentioned here, is this a
   17   know what that's referring to?                     17   PI on the back. That's not a PI. A PI would
   18         A. I have no idea.                           18   have been attached to it.
   19         Q. If you turn the page about five           19         Q. What's a "PI"?
   20   more pages from there, at the top it says          20         A. A product insert, the black and
   21   "Influence Questions."                             21   white fold with all of the chemical makeup.
   22         A. Yeah.                                     22         Q. Yeah, that -- I wasn't asking
   23         Q. And it says -- it's got a picture         23   about that. I was asking about whether or not
   24   of a -- go -- keep going from there. Sorry.        24   this would be a type of advertising promotional

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    1   material --                                         1   standard. Are you aware of that?
    2        A. Yeah. I don't know if we left               2         A. There's no -- I'm not aware of
    3   this with them, but I'm sure we had it either on    3   that, no.
    4   a visual aid that we kept or on our iPads.          4         Q. Okay. How long would a typical
    5        Q. Okay. Can you show me -- and if             5   visit last?
    6   you need to go through this entire document,        6         A. It depended on the type of visit.
    7   please do it -- anywhere where it talks about       7   If it was a lunch and learn, 10, 20 minutes. If
    8   "educate and inform," or uses those terms? If       8   it was a, you know -- a standard, you know,
    9   you want to put it back in order so it's not out    9   office call, five minutes.
   10   of order, that's fine.                             10         Q. Do you know what chronic opioid
   11            MR. TSAI: Object to the form of           11   therapy is?
   12        the question.                                 12         A. Chronic opioid therapy?
   13            Go ahead.                                 13         Q. Mm-hmm.
   14        A. I can answer the question.                 14         A. I've never heard that term, but I
   15        Q. Yes.                                       15   know people that take opiates for long periods
   16        A. So to answer your question about           16   of time.
   17   educating and informing --                         17         Q. Okay. Did you discuss the risks
   18        Q. Yeah.                                      18   of addiction from chronic opioid therapy with
   19        A. -- this was just a tool to teach           19   any of your HCPs?
   20   us how to use influence selling, not how to sell   20         A. We did not, no, not that I can
   21   Exalgo. There were examples of Exalgo and how      21   remember. However, on every piece, the black
   22   we can implement it, but this was a new sales      22   box states that there is a risk for addiction
   23   technique, so they were rolling this out. This     23   with Schedule II medications.
   24   wouldn't have been -- this was a probing -- a      24         Q. Are you familiar with any of the
                                               Page 111                                               Page 113
    1   probing mechanism that we used to gain              1   promotional materials that indicated that risk
    2   information, to try to understand, you know, the    2   addiction was low?
    3   thought process of the physician and to engage      3        A. I'm not familiar with that, no.
    4   them into a deeper -- a deeper dialogue.            4             MR. DEARMAN: Thank you.
    5             The education component and the           5        Q. Do you know what a territory
    6   information always goes hand-in-hand with           6   action plan is?
    7   something like this. But this looks like it         7        A. Territory action plan? I don't.
    8   came from, you know, the marketing department       8                 ---
    9   where they studied influence selling and were       9      (Mallinckrodt-Cox Exhibit 10 marked.)
   10   rolling that out to us.                            10                 ---
   11         Q. So it's not there?                        11   BY MR. DEARMAN:
   12         A. It's not in this packet, but              12        Q. I'm going to show you a document
   13   I'm --                                             13   which is -- we're going to mark as Exhibit
   14         Q. That's correct.                           14   Number 10. It's Bates 8593 through 8954, and
   15         A. It's not in this packet.                  15   there's a report attached to it.
   16         Q. I'm going to show you another             16             This is an e-mail from you to Tim
   17   document. While we're pulling that out, how        17   Dress on August 22, 2014. Any reason to believe
   18   much time would the -- are you aware of any        18   you didn't send this to Mr. Dress in the
   19   industry suggestions on how long the typical       19   ordinary course of business?
   20   interaction would be between a sales rep and a     20        A. No.
   21   physician?                                         21        Q. Was this the point in time that
   22         A. An indus- -- I'm sorry?                   22   you were reporting to Mr. Dress?
   23             MR. WATTS: Object to form.               23        A. It would have been, yes.
   24         Q. Industry suggestion or industry           24        Q. Okay. And this report that's

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    1   attached to it, it says "Xartemis Territory         1   key" is?
    2   Action Plan"?                                       2         A. I don't.
    3         A. Yes.                                       3         Q. And had you seen something like
    4         Q. Why would you be sending this to           4   this with regard to Exalgo?
    5   Mr. Dress?                                          5         A. Possibly. I don't -- I mean, I --
    6         A. He probably asked for it, but --           6   possibly. I really don't -- I don't remember
    7   I'm sure he needed it from each territory, but I    7   but I'm sure there was something like this.
    8   know this is about the week I resigned, so ...      8                 ---
    9         Q. Okay. Do you know what the --              9      (Mallinckrodt-Cox Exhibit 11 marked.)
   10   what was the point of a territory action plan?     10                 ---
   11         A. He probably just wanted an update         11         Q. I'm going to show you what's
   12   on, you know, the accounts going forward since I   12   marked as Exhibit 11, and it's an e-mail, 8035,
   13   was leaving.                                       13   from Tim Dress to multiple people, including
   14         Q. And so I understand that. Were            14   yourself. Any reason to believe you didn't
   15   these your customers?                              15   receive that in the ordinary course of your
   16         A. From what I can tell. I only sold         16   business?
   17   that product for such a short period of time.      17         A. No. I'm sure I did.
   18   These names are familiar.                          18         Q. I'm trying to find my copy of that
   19         Q. Did you work on these territory           19   document. That's why it's taking me so long.
   20   action plans for -- with Exalgo?                   20            Can I see that document, that
   21         A. I don't think so. I don't even            21   exhibit for a second?
   22   remember doing this.                               22            Do you see the -- in the third
   23         Q. Okay. So do you know who these            23   bullet point where it talks about shared
   24   customers are?                                     24   accounts?
                                               Page 115                                                Page 117
    1         A. I recognize the names of a few of          1        A. Yes.
    2   them.                                               2        Q. Do you know what that was in
    3         Q. Number -- can you go to 65 and             3   reference to and why they were going to shared
    4   tell me -- take a look at that one. A Lawrence      4   accounts at that point in time?
    5   Bruno. Do you know who that is?                     5        A. I don't remember this, but I -- I
    6         A. I think he's a surgeon. Yes.               6   don't remember actually executing this, but I do
    7         Q. So if you go all the way to the            7   remember that the representative and their DM
    8   other end under "Comments," it says, "Need to       8   were going to work together on account to -- you
    9   spend time with staff where his outpatient          9   know, to help grow and educate the staff on
   10   surgery is done."                                  10   Xartemis. I don't think we ever put it into
   11         A. Sure.                                     11   place. I can't remember doing that with Tim,
   12         Q. Do you know why those comments            12   but maybe we did. It just seemed to be like a
   13   would be part of this report?                      13   collaborative thing that we were working on.
   14         A. Yeah. I think that's where he --          14        Q. Do you see the last bullet point,
   15   he would make decisions on what medication the     15   "When approaching orthos, you need to know the
   16   patients would get would be in the outpatient      16   following"?
   17   surgery center.                                    17        A. Yes.
   18         Q. If you go to the last page of this        18        Q. "What type of surgeries they do
   19   document, it says, "XXR Territory Action Plan      19   and where"?
   20   Data Field Key."                                   20        A. Yes.
   21         A. Yes.                                      21        Q. "Which of these surgeries do they
   22         Q. It looks like this (indicating).          22   use Percocet for acute pain"?
   23         A. Mm-hmm.                                   23        A. Yes.
   24         Q. Do you know what the "data field          24        Q. Do you know why it was important

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    1   to know what type of surgeries they do and which    1   make sense, and providers knew that.
    2   they use Percocet for?                              2                 ---
    3         A. Well, Percocet would have been the         3       (Mallinckrodt-Cox Exhibit 12 marked.)
    4   competitor, so I think it was important for us      4                 ---
    5   to know what type of surgery they did so we         5   BY MR. DEARMAN:
    6   could see if Xartemis was an appropriate option     6         Q. Let me show you Exhibit 12.
    7   for their patient.                                  7   There's a -- let me have that exhibit back.
    8         Q. You see where it says further down         8   There's an exhibit -- there's another page which
    9   in that paragraph, "If you have buy-in and          9   I, for some reason have, that I think goes with
   10   closed them for business, you must ask them to     10   that document that we should mark, but I only
   11   look at their schedule to identify patients for    11   have one copy of it.
   12   XXR that day"?                                     12         A. Do you want this back?
   13         A. Yes.                                      13         Q. Yeah. Let me see it. Let me see
   14         Q. "There is no reason to wait. We           14   both pages back. Sorry about that.
   15   are not looking for 1 TRx."                        15             Yeah. They're the same numbers.
   16         A. Mm-hmm.                                   16             I'm writing 12 at the bottom of
   17         Q. What does that mean?                      17   it. I'm showing you a document which is
   18         A. He -- again, I didn't write -- I          18   Exhibit 12 still but it's got an e-mail 3521,
   19   didn't write this e-mail but I can speculate       19   and it goes through 3254 with a document
   20   that he is asking us to encourage the physician    20   attached, and you can -- the e-mail only says
   21   to look for places in their schedule where         21   "See attached."
   22   Xartemis would be an appropriate option.           22             Any reason to believe you didn't
   23         Q. And where they can write more than        23   receive this e-mail in the ordinary course of
   24   one prescription?                                  24   your business?
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    1         A. Yes.                                       1         A. No. I'm sure I received it.
    2         Q. Okay. And you received this                2         Q. Okay. It says, "2014 Mid-Year
    3   e-mail?                                             3   Performance Discussion Guide."
    4         A. I did.                                     4         A. Okay.
    5         Q. All right. And did you send -- do          5         Q. Are you familiar with this type of
    6   you recall sending Tim an e-mail that you didn't    6   a document?
    7   understand that, or do you understand it?           7         A. Yes.
    8         A. I understand it, yeah.                     8         Q. Okay. What was this used for?
    9         Q. Okay.                                      9         A. Just tracking -- tracking our
   10         A. It doesn't mean I did it, but ...         10   development and our performance midyear.
   11         Q. Did you do it?                            11         Q. Okay. And is it -- then at the
   12         A. I doubt it.                               12   bottom is it setting additional goals for 2014?
   13         Q. Okay. Why?                                13         A. Is it setting -- it looks like it.
   14         A. Again, at this point I was looking        14   I don't know.
   15   for a new job. I didn't want to be selling in      15         Q. Okay. If you look at the first
   16   this space. I didn't want to be calling on         16   section, "Leader's assessment of progress
   17   surgery centers. So I'm sure I didn't do it.       17   towards goal (On/Off Track)."
   18         Q. And I know you mentioned some of          18         A. Yes.
   19   the reasons, but is it because you didn't want     19         Q. It says that you're -- it says
   20   to ask them to write more than one prescription?   20   "Off Track"?
   21         A. No. I didn't have a problem               21         A. Yes.
   22   asking them to write more than one prescription.   22         Q. Do you know what that means?
   23   This medication was very expensive, and the        23         A. I don't know. I'm off track. I
   24   competition was very inexpensive. It didn't        24   can't recall that.
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    1         Q. All right. In regard to                    1         A. No.
    2   performance, you finished quarter one               2         Q. On the second page, it says, "List
    3   141 percent to goal for Exalgo and 92 percent       3   any barriers that stand in the way of goal
    4   for Pennsaid?                                       4   accomplishment based on discussion."
    5         A. Yes.                                       5             Do you have any idea whether there
    6         Q. You finished quarter 2, January,           6   were issues with pharmacy stocking?
    7   139 percent to goal for Exalgo --                   7         A. There were issues with pharmacy
    8         A. Yes.                                       8   stocking, yes.
    9         Q. -- and 77 for Pennsaid?                    9         Q. Was that as -- was that in regards
   10         A. Yes.                                      10   to Xartemis or Exalgo?
   11         Q. And for Pennsaid, 1.5 percent?            11         A. Xartemis.
   12         A. Yes.                                      12         Q. Xartemis. Thank you.
   13         Q. What does that mean, by the way,          13         A. That's okay. People say it both
   14   when it's --                                       14   ways.
   15         A. That was the dose.                        15         Q. XXR, how's that?
   16         Q. Okay. So when it says                     16         A. That's fine.
   17   "139 percent to goal for Exalgo," what does that   17         Q. It says, "Nobody calling on this
   18   mean?                                              18   territory affects your pharmacy stocking and
   19         A. So whatever my goal was for that          19   Xartemis XR awareness in general for your
   20   quarter --                                         20   territory," under the "barriers" paragraph.
   21         Q. Okay.                                     21         A. Yeah. "Nobody calling on this
   22         A. -- which would have probably --           22   territory affects your pharmacy ..."
   23   you know, it was -- it's relative to my            23             Yeah, I see that, yes.
   24   territory. So ...                                  24         Q. What does that mean?
                                               Page 123                                               Page 125
    1         Q. Understood.                                1         A. "Nobody calling on this territory
    2         A. You know, maybe it was -- I don't          2   affects your pharmacy ..." there must have been
    3   know. I'm speculating, 20 prescriptions.            3   a vacancy somewhere in the district and maybe I
    4         Q. I'm not asking you to do that.             4   picked up part of it. I'm not really sure.
    5   I'm just saying, so it relates to whatever your     5         Q. If you drop down under "Leader's
    6   goal was?                                           6   assessment of employee demonstrating
    7         A. Yeah, and a percentage over it.            7   Mallinckrodt's Cultural Hallmarks."
    8         Q. So you were 139 percent over your          8         A. Mm-hmm, yes.
    9   goal for Exalgo?                                    9         Q. One of them is you're engaged. Do
   10         A. Correct.                                  10   you see that?
   11         Q. Okay. And it says, "You are               11         A. Yes.
   12   ranked fifth in the nation per the January rank    12         Q. There's another that's
   13   report, nice job."                                 13   "Collaborative"?
   14         A. Yeah, mm-hmm.                             14         A. Yes.
   15         Q. Do you know what the realignment          15         Q. "Competitive"?
   16   was that caused changes to your geography?         16         A. Yes.
   17         A. I didn't have any -- yes. We              17         Q. "You follow up daily with
   18   added a whole contract sales team. So we added,    18   physicians who have given their commitment to
   19   I believe, like 100 or so more people in the       19   writing. You always make the total office
   20   field. So that caused a lot of geographies to      20   call" --
   21   change. Mine didn't really change.                 21         A. Yes.
   22         Q. Was the fact that they added those        22         Q. -- "to ensure the script does not
   23   additional folks one of the reasons that you       23   get lost and are focused on driving business
   24   left?                                              24   every day"?

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    1         A. Yes.                                       1   inappropriate target.
    2         Q. You agree you were focused on              2         Q. Okay. And what is an
    3   driving business every day?                         3   "inappropriate target"?
    4         A. I was.                                     4         A. It would be a target that we
    5         Q. Okay. And you were high                    5   would -- if they were -- if we witnessed them
    6   performing. You were ranked fifth in the nation     6   overprescribing any medication or giving a
    7   in January, correct?                                7   patient too much medication and we were there to
    8         A. Yes.                                       8   witness it, then we would have the ability to
    9         Q. If you go to the next page under           9   remove them from our target list.
   10   "Comments," it says, "You got off to a great       10         Q. Okay. That would be the
   11   start" -- this is under "Additional Comments."     11   inappropriate target?
   12         A. Mm-hmm.                                   12         A. Yes.
   13         Q. "You got off to a great start in          13         Q. What type of training did you
   14   FY '14 and are in the hunt for Presidents Club."   14   receive, if any, to make that determination?
   15              What does that mean?                    15         A. I don't recall the training. I
   16         A. I was tracking to finish the year         16   just know that it was often presented as an
   17   in the top percentage that would be -- that        17   option to remove targets that were
   18   would meet the president's club requirement.       18   inappropriate.
   19         Q. And one of the things that he             19         Q. Do you know who Dr. Akhtar-Zaidi,
   20   tells you is you're going to need to accelerate    20   Z-a-i-d-i, is?
   21   your Xartemis XR business to have a chance in      21         A. Dr. Zaidi.
   22   the second half.                                   22         Q. Yeah.
   23         A. Yes.                                      23         A. I do know who he is. He was not
   24         Q. You left before having a chance in        24   on my call list.
                                               Page 127                                                Page 129
    1   the second half, correct?                           1         Q. Okay.
    2         A. Yes.                                       2         A. He was part of the Cleveland East
    3         Q. Okay. We talked about target               3   territory.
    4   reports where it would have lists of doctors.       4         Q. Okay. How do you know him?
    5             Do you recall that?                       5         A. Just as a -- he -- I know he's one
    6         A. Yes.                                       6   of the physicians who lost his license.
    7         Q. Do you know whether or not there           7         Q. Okay.
    8   were ever changes made to targets for reasons,      8         A. But, again, not my territory.
    9   meaning that a target would come off of one of      9         Q. Understood. Do you know who
   10   the lists?                                         10   Rosemary Polomano is?
   11         A. So I can only speak to my                 11         A. I do not, no.
   12   territory.                                         12         Q. Early on I asked you about a key
   13         Q. Fair enough.                              13   opinion leader and you gave me the name of
   14         A. I didn't have any that I can              14   somebody. Do you recall who that was?
   15   remember pulling off of the target list for any    15         A. Dr. Bharat Shah.
   16   reason, but there always was a -- it was a         16         Q. Yeah. What kind of doctor was he?
   17   process where we could remove physicians from      17         A. Pain management, anesthesiology.
   18   time to time.                                      18   He -- yeah. He had a private practice in Lorain
   19         Q. And do you know why a -- what were        19   County.
   20   the reasons why doctors would be removed from      20         Q. Okay. So he was one of the HCPs
   21   target lists?                                      21   that was one of your targets?
   22         A. If they were dead, jailed,                22         A. Yes.
   23   retired, or whereabout -- what we call WAUNK,      23         Q. And he also agreed to serve as a
   24   whereabouts unknown, fled, or if they were an      24   key opinion leader?

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    1         A. He did.                                         1   who Jay and Gavin are?
    2         Q. Would he be compensated for that?               2         A. I do.
    3         A. He was.                                         3         Q. Who --
    4         Q. Okay. And what would be the                     4         A. They were transitioning, but they
    5   reason that you would want to use a key opinion          5   were the regional managers, the regional
    6   leader?                                                  6   directors, one level above my boss.
    7         A. He was credentialed through, you                7         Q. Okay. Do you see underneath it
    8   know, the American Academy of Pain Management.           8   where it says, "Cleveland West was originally
    9   He was a private practice owner and was a -- one         9   designed as a Pennsaid territory"?
   10   of the only pain management physicians in Lorain        10         A. Yes.
   11   County with a large pool of patients, treated a         11         Q. "Nobody has fought harder for
   12   variety of pain issues. He was well respected,          12   every Exalgo script than Erin"?
   13   well trained.                                           13         A. Correct.
   14         Q. Did he write Exalgo prescriptions?             14         Q. "She is one of the most talented
   15         A. He did. He wrote all of the                    15   representatives I've ever worked with."
   16   products.                                               16         A. Mm-hmm.
   17         Q. Was he your largest writer of                  17         Q. And then it goes on to talk about
   18   Exalgo prescriptions?                                   18   "Exalgo potential in Cleveland West"?
   19         A. I don't remember, but he was one               19         A. Right.
   20   of them.                                                20         Q. So is it accurate that your
   21         Q. Okay.                                          21   territory was originally a Pennsaid territory
   22         A. I don't know if he was necessarily             22   but then changed to an Exalgo territory?
   23   the largest. Maybe from -- during certain               23         A. It never changed and it was never,
   24   points. But, again, he had the largest                  24   you know, one or the other. Based on the
                                                   Page 131                                                 Page 133
    1   practice, so he would have had the largest               1   demographics, the opportunity mostly would lie
    2   patients to treat -- the largest amount of               2   within Pennsaid. I was still responsible for
    3   patients to treat.                                       3   Exalgo, either 30 percent, 40 percent, initially
    4             Another reason I chose him as a                4   50 percent. So I had to, you know, call on the
    5   KOL is he took care of a lot of very poor                5   pain management physicians that were in the
    6   patients and workers' comp, so he had very               6   territory. There was a lack -- it says right
    7   complex cases and had a lot of -- a lot of               7   there "a lack of pain management physicians."
    8   experience.                                              8         Q. Yeah. I'm going to get to that.
    9                  ---                                       9   And I'll get to that.
   10      (Mallinckrodt-Cox Exhibit 13 marked.)                10             So you see the 1, 2, 3, 4 numbers
   11                  ---                                      11   under "Exalgo potential in Cleveland West?"
   12         Q. I'm going to hand you what is                  12         A. Yes.
   13   marked as Exhibit 13 now, which is Bates range          13         Q. Do you know what any of that is?
   14   0768 through 0769. This is dated 11/20/2013             14   "0 decile 10 targets, 1 decile 9 Exalgo target,
   15   from you to Kevin Becker.                               15   and this physician practices at the main campus
   16         A. Mm-hmm.                                        16   of the Cleveland Clinic, no access"?
   17         Q. Subject "Q3 Performance."                      17         A. Yes. I see -- yes.
   18         A. Yes.                                           18         Q. Yeah. Okay. So what does
   19         Q. If you start at the second page                19   those -- what does that -- what does that mean?
   20   0769, which was the -- actually, I'm sorry. The         20   What's that telling you?
   21   e-mail actually begins -- it's one string. It's         21         A. The "0 decile 10 targets"?
   22   just a long one. 0768. You were forwarding to           22         Q. Yeah.
   23   Kevin an e-mail from Jay and Gavin.                     23         A. That means -- I don't know what
   24             Do you know exactly what this --              24   the "decile" means -- actually, I don't know

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    1   what either of those means.                         1                  ---
    2         Q. Well, is "decile" the number of            2   BY MR. DEARMAN:
    3   prescriptions that are written?                     3         Q. I'm going to show you what I'm
    4         A. No, no. It wouldn't have anything          4   going to mark as Exhibit Number 17 [sic], which
    5   to do with that. I don't know what they -- what     5   is Bates numbers 3040 --
    6   they included as a decile. Yeah, I'm not really     6             MR. DEARMAN: 14. Am I wrong?
    7   sure. I mean -- I have no idea.                     7             MS. OKUN: You said 17.
    8         Q. All right. So now if we go to the          8             MR. DEARMAN: I did? All right.
    9   paragraph that you were referring to before,        9         I meant 14. Thank you very much. I'm
   10   "With a lack of pain management physicians in      10         glad you know what I mean.
   11   your territory, you've done a tremendous job of    11             (Discussion held off the record.)
   12   finding Exalgo business in other places, which     12   BY MR. DEARMAN:
   13   has been mostly primary care."                     13         Q. Exhibit Number 14, which says
   14            What does that mean?                      14   "Pain Management pocketcard Set." Have you ever
   15         A. I had an office that treated a lot        15   seen a document like this before.
   16   of pain. They were a group of family practice      16         A. I have never seen a document like
   17   physicians, and they -- they treated the pain      17   this before.
   18   without referring out. They also had a lot of      18         Q. Have you ever provided a document
   19   workers' comp patients. So it was just easier      19   like this to a HCP?
   20   for them to keep everything in-house.              20         A. Not that I can recall.
   21         Q. Okay. It says, "As a result of            21         Q. If you look at the first page of
   22   Ohio HB 93, 2 of her top Exalgo writers (primary   22   the document where it says, "Ask, Assess, Treat
   23   care) had to stop practicing pain management."     23   and Monitor."
   24         A. That's correct.                           24             Do you see that?
                                               Page 135                                               Page 137
    1        Q. What does that mean?                        1         A. Yes.
    2        A. House Bill 93 limited writing of            2         Q. Under "Ask" it says, "Always ask
    3   opioids to only -- long-acting opioids to only      3   patient about the presence of pain and accept
    4   board certified pain management physicians.         4   the patient's report of pain."
    5        Q. So that impacted the number of              5             Do you recall that?
    6   targets you had in your territory?                  6         A. I don't recall any of this.
    7        A. It did, yes.                                7         Q. Would that be the same thing for
    8             MR. DEARMAN: Okay. Can we take a          8   under -- if you look under "Monitor" where it
    9        break? I don't know where we are in the        9   says, "Most opioid agonists have no analgesic
   10        scheme of things, but ...                     10   ceiling dose."
   11             MR. TSAI: Well, we've been going         11             You don't recall that either?
   12        over an hour since the last break. It's       12         A. Analgesics have no -- I -- I --
   13        around noon.                                  13   that is a statement I remember, yes.
   14             MR. DEARMAN: Yeah.                       14         Q. Okay. So is that a statement that
   15             MR. TSAI: Do you want to go a            15   you would have discussed with an HCP?
   16        little bit more and -- I don't know.          16         A. I would have only talked to
   17        It's up to everyone.                          17   Exalgo's analgesic ceiling dose, not other
   18             THE VIDEOGRAPHER: Off the record,        18   analgesic ceiling doses.
   19        11:55.                                        19         Q. Okay. In that same box under
   20             (Recess taken.)                          20   "Monitor" it says, "Addiction rarely occurs
   21             MR. DEARMAN: On the record,              21   unless there's an hx, history, of abuse."
   22        12:06.                                        22             Do you see that?
   23                  ---                                 23         A. I see that.
   24      (Mallinckrodt-Cox Exhibit 14 marked.)           24         Q. Is that something that you would
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    1   have also discussed?                                1        Q. Do you see the last bullet point,
    2          A. I would have never discussed that.        2   "Risk of addiction rare"?
    3          Q. Okay.                                     3        A. Sure.
    4          A. That would have been inappropriate        4        Q. Do you believe that that's a false
    5   to discuss.                                         5   statement?
    6          Q. Okay. And why is that?                    6        A. I believe that's a false
    7          A. That's a false statement.                 7   statement.
    8          Q. Okay. How do you know that's a            8            MR. DEARMAN: I don't have any
    9   false statement?                                    9        other questions for the witness at this
   10          A. I mean, I guess I don't know that        10        time.
   11   it's a false statement, but if you had ten         11            THE VIDEOGRAPHER: Off the record,
   12   doctors in here, I'm sure all ten of them would    12        12:12.
   13   tell you that's a false statement.                 13          (Signature not waived.)
   14          Q. Okay. So you believe it's false?         14                ---
   15          A. I believe it's a false statement,        15          Thereupon, at 12:12 p.m., on Thursday,
   16   yes.                                               16   January 17, 2019, the deposition was concluded.
   17                   ---                                17                ---
   18   (Mallinckrodt-Cox Deposition Exhibit 15 marked.)   18
   19                   ---                                19
   20          Q. Okay. Let me show you a document         20
   21   which we're going to mark as Exhibit 15. This      21
   22   is an e-mail with some attachments. Sorry about    22
   23   that. We need to clip that to the back of that     23
   24   because that's together.                           24

                                               Page 139                                                         Page 141
    1            It's an e-mail, which is 8914 to           1         CERTIFICATE
                                                            2 STATE OF OHIO     :
    2   8918, and then attached to it is the Magnacet or
                                                                            SS:
    3   guidelines, I guess. Attached to it is
                                                            3 COUNTY OF __________:
    4   something that says "Guidelines. Managing:          4
    5   Pain," which is 8919 through 8926.                  5        I, ERIN M. COX, do hereby certify that I
    6            I'm going to direct your attention         6 have read the foregoing transcript of my
    7   to 8919 where -- the guideline document that I      7 cross-examination given on January 17, 2019; that
    8   provided you with.                                  8 together with the correction page attached hereto
    9        A. Okay.                                       9 noting changes in form or substance, if any, it is
                                                           10 true and correct.
   10        Q. Are you familiar with this
                                                           11                 _____________________________
   11   document?
                                                                              ERIN M. COX
   12        A. I am not.                                  12
   13        Q. If you turn to the second page,            13        I do hereby certify that the foregoing
   14   which is 8920, under Table 5, "Principles of       14 transcript of the cross-examination of ERIN M. COX was
   15   Pain Management with Opioids."                     15 submitted to the witness for reading and signing; that
   16        A. Yes.                                       16 after she had stated to the undersigned Notary Public
   17        Q. Do you see where it says, "Risk of         17 that she had read and examined her cross-examination,
                                                           18 she signed the same in my presence on the _______ day
   18   addiction rare (see Table 7)"?
                                                           19 of _________________________, 2019.
   19            The last bullet point.
                                                           20
   20        A. Table 7.
                                                                              _____________________________
   21        Q. It's up at the top, top right, it          21                 NOTARY PUBLIC - STATE OF OHIO
   22   says "Table 5, Principles" --                      22
   23        A. Oh, I see it, yes. Okay.                   23 My Commission Expires:
   24   "Risk" --                                          24 _________________, ______.


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    1         CERTIFICATE
    2 STATE OF OHIO   :
                           SS:
    3 COUNTY OF FRANKLIN :
    4     I, Carol A. Kirk, a Registered Merit
        Reporter and Notary Public in and for the State of
    5 Ohio, duly commissioned and qualified, do hereby
        certify that the within-named ERIN M. COX was by me
    6 first duly sworn to testify to the truth, the whole
        truth, and nothing but the truth in the cause
    7 aforesaid; that the deposition then given by her was
        by me reduced to stenotype in the presence of said
    8 witness; that the foregoing is a true and correct
        transcript of the deposition so given by her; that the
    9 deposition was taken at the time and place in the
        caption specified and was completed without
   10 adjournment; and that I am in no way related to or
        employed by any attorney or party hereto or
   11 financially interested in the action; and I am not,
        nor is the court reporting firm with which I am
   12 affiliated, under a contract as defined in Civil Rule
        28(D).
   13
              IN WITNESS WHEREOF, I have hereunto set my
   14 hand and affixed my seal of office at Columbus, Ohio
        on this 21st day of January 2019.
   15
   16
   17
   18             _____________________________
                  CAROL A. KIRK, RMR
   19             NOTARY PUBLIC - STATE OF OHIO
   20 My Commission Expires: April 9, 2022.
   21           ---
   22
   23
   24

                                                          Page 143
    1           DEPOSITION ERRATA SHEET
    2   I, ERIN M. COX, have read the transcript
        of my deposition taken on the 17th day of January
    3   2019, or the same has been read to me. I request that
        the following changes be entered upon the record for
    4   the reasons so indicated. I have signed the signature
        page and authorize you to attach the same to the
    5   original transcript.
    6   Page Line Correction or Change and Reason Therefor:
    7   ___ ____ ___________________________________________
    8   ___ ____ ___________________________________________
    9   ___ ____ ___________________________________________
   10   ___ ____ ___________________________________________
   11   ___ ____ ___________________________________________
   12   ___ ____ ___________________________________________
   13   ___ ____ ___________________________________________
   14   ___ ____ ___________________________________________
   15   ___ ____ ___________________________________________
   16   ___ ____ ___________________________________________
   17   ___ ____ ___________________________________________
   18   ___ ____ ___________________________________________
   19   ___ ____ ___________________________________________
   20   ___ ____ ___________________________________________
   21   ___ ____ ___________________________________________
   22   ___ ____ ___________________________________________
   23   ___ ____ ___________________________________________
   24   Date ______________ Signature ________________________

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